Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23   Page 1 of 40 PageID 10374


                                EXHIBIT 68




                                                                  Appx. 01793
Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                 Page 2 of 40 PageID 10375



                                                                                                       Page 1
·1· · · · · · · · GRANT SCOTT - 1/21/2021

·2· · · · IN THE UNITED STATES BANKRUPTCY COURT
· · · · · · FOR THE NORTHERN DISTRICT OF TEXAS
·3· · · · · · · · · ·DALLAS DIVISION

·4·   ·   IN RE:· · · · · · · · · · · · ·)
· ·   ·   · · · · · · · · · · · · · · · ·)·                                       · Chapter 11
·5·   ·   HIGHLAND CAPITAL MANAGEMENT,· ·)
· ·   ·   L.P.· · · · · · · · · · · · · ·)·                                       · ·Case No.
·6·   ·   · · · · · · · · · · · · · · · ·)·                                       19-34054-sgj11
· ·   ·   · · · · · · · · ·Debtor.· · · ·)
·7·   ·   ----------------------------· ·)
· ·   ·   HIGHLAND CAPITAL MANAGEMENT,· ·)
·8·   ·   L.P.,· · · · · · · · · · · · · )
· ·   ·   · · · · · · · · ·Plaintiff,· · )
·9·   ·   · · · · · · · · · · · · · · · ·)·                                       · ·Adversary
· ·   ·   · · vs.· · · · · · · · · · · · )·                                       ·Proceeding No.
10·   ·   · · · · · · · · · · · · · · · ·)·                                       · 21-03000-sgj
· ·   ·   HIGHLAND CAPITAL MANAGEMENT· · )
11·   ·   FUND ADVISORS, L.P.; NEXPOINT· )
· ·   ·   ADVISORS, L.P.; HIGHLAND· · · ·)
12·   ·   INCOME FUND; NEXPOINT· · · · · )
· ·   ·   STRATEGIC OPPORTUNITIES FUND;· )
13·   ·   NEXPOINT CAPITAL, INC.; and· · )
· ·   ·   CLO HoldCo, LTD.,· · · · · · · )
14·   ·   · · · · · · · · · · · · · · · ·)
                                      TSG Reporting - Worldwide· · 877-702-9580




· ·   ·   · · · · · · · · ·Defendants.· ·)
15·   ·   -------------------------------

16

17· · · VIDEOCONFERENCE DEPOSITION OF Grant SCOTT

18· · · · · ·Thursday, 21st of January, 2021

19

20

21

22

23· ·Reported by: Lisa A. Wheeler, RPR, CRR

24· ·Job No: 188910

25


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Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                         Page 3 of 40 PageID 10376



                                                       Page 2                                                                                 Page 3
·1· · · · · ·GRANT SCOTT - 1/21/2021                                                   ·1· · · · · · · · GRANT SCOTT - 1/21/2021
·2· · · · · · · · · ·January 21, 2021                                                  ·2· ·REMOTE APPEARANCES:
·3· · · · · · · · · ·2:02 p.m.                                                         ·3· · · · PACHULSKI STANG ZIEHL & JONES
·4                                                                                     ·4· · · · Attorneys for Debtor
·5                                                                                     ·5· · · · · · · 780 Third Avenue
·6· · · · ·Videoconference deposition of Grant                                         ·6· · · · · · · New York, NY 10017
·7· ·SCOTT, pursuant to the Federal Rules of                                           ·7· · · · BY:· ·JOHN MORRIS, ESQ.
·8· ·Civil Procedure before Lisa A. Wheeler,                                           ·8
·9· ·RPR, CRR, a Notary Public of the State of                                         ·9· · · · LATHAM & WATKINS
10· ·North Carolina.· The court reporter                                               10· · · · Attorneys for UBS
11· ·reported the proceeding remotely and the                                          11· · · · · · · 885 Third Avenue
12· ·witness was present via videoconference.                                          12· · · · · · · New York, NY 10022
13                                                                                     13· · · · BY:· ·SHANNON McLAUGHLIN, ESQ.
14                                                                                     14
15                                                                                     15· · · · SIDLEY AUSTIN
16                                                                                     16· · · · Attorneys for the Creditors Committee
17                                                                                     17· · · · · · · 2021 McKinney Avenue
18                                                                                     18· · · · · · · Dallas, TX 75201
19                                                                                     19· · · · BY:· ·PENNY REID, ESQ.
20                                                                                     20· · · · · · · ALYSSA RUSSELL, ESQ.
21                                                                                     21· · · · · · · PAIGE MONTGOMERY, ESQ.
22                                                                                     22
23                                                                                     23
24                                                                                     24
25                                                                                     25


                                                       Page 4                                                                                 Page 5
·1· · · · · · · · GRANT SCOTT - 1/21/2021                                              ·1· · · · · · · · GRANT SCOTT - 1/21/2021
·2· ·REMOTE APPEARANCES:· (Continued)                                                  ·2· ·REMOTE APPEARANCES:· (Continued)
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·3· · · · KING & SPALDING                                                              ·3· · · · KANE RUSSELL COLEMAN & LOGAN
·4· · · · Attorneys for Highland CLO Funding, Ltd.                                     ·4· · · · Attorneys for Defendant CLO HoldCo Limited
·5· · · · · · ·500 West 2nd Street                                                     ·5· · · · · · · Bank of America Plaza
·6· · · · · · ·Austin, TX 78701                                                        ·6· · · · · · · 901 Main Street
·7· · · · BY:· REBECCA MATSUMURA, ESQ.                                                 ·7· · · · · · · Dallas, TX 75202
·8                                                                                     ·8· · · · BY:· ·BRIAN CLARK, ESQ.
·9· · · · K&L GATES                                                                    ·9· · · · · · · JOHN KANE, ESQ.
10· · · · Attorneys for Highland Capital Management                                    10
11· · · · Fund Advisors, L.P., et al.                                                  11· ·ALSO PRESENT:· La Asia Canty
12· · · · · · · 4350 Lassiter at North Hills Avenue                                    12
13· · · · · · · Raleigh, NC 27609                                                      13
14· · · · BY:· ·A. LEE HOGEWOOD, III, ESQ.                                             14
15· · · · · · · EMILY MATHER, ESQ.                                                     15
16                                                                                     16
17· · · · HELLER DRAPER & HORN                                                         17
18· · · · Attorneys for The Dugaboy Investment Trust                                   18
19· · · · and The Get Good Trust                                                       19
20· · · · · · ·650 Poydras Street                                                      20
21· · · · · · ·New Orleans, LA 70130                                                   21
22· · · · BY:· MICHAEL LANDIS, ESQ.                                                    22
23                                                                                     23
24                                                                                     24
25                                                                                     25



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Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                                Page 4 of 40 PageID 10377



                                                  Page 6                                                                                         Page 7
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·G R A N T· ·S C O T T,                                                        ·2·             · · · transcript going forward?
·3·   · · · called as a witness, having been duly sworn                              ·3·             · · · · · · Okay.· Nobody's spoken up, so I --
·4·   · · · by a Notary Public, was examined and                                     ·4·             · · · I'd like to begin.
·5·   · · · testified as follows:                                                    ·5·             · · · · · · · · · ·EXAMINATION
·6·   · · · · · · MR. MORRIS:· Good afternoon.· My                                   ·6·             ·BY MR. MORRIS:
·7·   · · · name is John Morris.· I'm an attorney with                               ·7·             · · · Q.· · Good afternoon, Mr. Scott.· As I
·8·   · · · Pachulski Stang Ziehl & Jones, a law firm                                ·8·             ·mentioned, my name is John Morris, and we're
·9·   · · · who represents the debtor in the bankruptcy                              ·9·             ·here for your deposition today.· Have you ever
10·   · · · known as In Re: Highland Capital                                         10·             ·been deposed before?
11·   · · · Management, L.P., and we're here today for                               11·             · · · A.· · On two occasions.
12·   · · · the deposition of Grant Scott.                                           12·             · · · Q.· · And -- and when did the -- when did
13·   · · · · · · Before I begin, I would just like to                               13·             ·those depositions take place?
14·   · · · have confirmation on the record that                                     14·             · · · A.· · This past October and maybe six to
15·   · · · everybody here who's representing their                                  15·             ·eight years ago.
16·   · · · respective parties agrees that this                                      16·             · · · Q.· · Okay.· Can you just tell me
17·   · · · deposition can be used in evidence in any                                17·             ·generally what the subject matter was of the
18·   · · · subsequent hearing, notwithstanding the                                  18·             ·deposition this past October.
19·   · · · fact that it's being conducted remotely,                                 19·             · · · A.· · It was relating to Jim Dondero's --
20·   · · · and that the witness is not in the same                                  20·             ·it was a family law issue in -- in -- with
21·   · · · room as the court reporter.                                              21·             ·respect to Jim Dondero.
22·   · · · · · · Does anybody have an objection to                                  22·             · · · Q.· · Okay.· And did you testify in a
23·   · · · the admissibility of the transcript subject                              23·             ·courtroom, or was it a deposition like this?
24·   · · · to any reservation of -- of actual                                       24·             · · · A.· · I -- right here, actually.
25·   · · · objections on the record to using this                                   25·             · · · Q.· · Okay.· Super.· And -- and what about
                                                  Page 8                                                                                         Page 9
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·the -- the deposition six to eight years ago,                                 ·2·
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                                                                                                     · · · A.· · Okay.
·3·   ·do you have a recollection as to what that was                                ·3·             · · · Q.· · And if there's anything that I ask
·4·   ·about?                                                                        ·4·             ·that you don't understand, will you let me know
·5·   · · · A.· · Yeah.· It was a -- it was a patent I                               ·5·             ·that as well?
·6·   ·wrote for Samsung Electronics.                                                ·6·             · · · A.· · Yes.· I'll try -- I'll do my best.
·7·   · · · Q.· · Okay.                                                              ·7·             · · · Q.· · Okay.· So this is a virtual
·8·   · · · A.· · And as being the person that I --                                  ·8·             ·deposition.· We're not in the same room.· I am
·9·   ·that wrote it and the patent was in litigation,                               ·9·             ·going to be showing you documents today.· The
10·   ·not -- not being handled by me, but by virtue                                 10·             ·documents will be put up on the screen.· This
11·   ·of having written the patent, I was -- I was                                  11·             ·isn't a -- a trick of any kind.· If at any time
12·   ·deposed --                                                                    12·             ·you see a document up on the screen and either
13·   · · · Q.· · Okay.· So you --                                                   13·             ·you believe or you have any reason to want to
14·   · · · A.· · -- on the -- on the patent.                                        14·             ·read other portions of the document, will you
15·   · · · Q.· · Okay.· So you've had a little bit of                               15·             ·let me know that?
16·   ·experience with depositions.· But just                                        16·             · · · A.· · Yes, I -- yes, I will.· Uh-huh.
17·   ·generally speaking, I'm going to ask you a                                    17·             · · · Q.· · With respect to the Dondero family
18·   ·series of questions.· It's very important that                                18·             ·matter, I really don't want to go into the
19·   ·you allow me to finish my question before you                                 19·             ·substance of that, but I do want to know
20·   ·begin your answer.                                                            20·             ·whether you testified voluntarily in that
21·   · · · · · · Is that fair?                                                      21·             ·matter or whether you -- whether you testified
22·   · · · A.· · Absolutely.                                                        22·             ·pursuant to subpoena.
23·   · · · Q.· · And I will certainly try to extend                                 23·             · · · A.· · I would have done that, but the
24·   ·the same courtesy to you, but if I -- if I step                               24·             ·first time I found out about it was a -- was a
25·   ·on your words, will you let me know that?                                     25·             ·subpoena that I received.· I wasn't given the

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Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                                Page 5 of 40 PageID 10378



                                                 Page 10                                                                                        Page 11
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·choice.                                                                       ·2·             ·integrated with other entities as part of a
·3·   · · · Q.· · Okay.· And do you recall who served                                ·3·             ·charitable -- loosely what we -- what we refer
·4·   ·the subpoena on you?· Actually, let me ask a                                  ·4·             ·to as a charitable foundation equivalent.
·5·   ·different question because I'm really not                                     ·5·             ·Yeah.
·6·   ·interested in the -- in the details.                                          ·6·             · · · Q.· · All right.· We'll -- we'll get into
·7·   · · · · · · Did Mr. Dondero serve that subpoena                                ·7·             ·some detail about the corporate structure in a
·8·   ·on you or did somebody else?                                                  ·8·             ·moment.· Do you personally play any role at CLO
·9·   · · · A.· · His counsel for his ex-wife.                                       ·9·             ·HoldCo Limited?
10·   · · · Q.· · Mr. -- so -- so the lawyer acting on                               10·             · · · A.· · Yes.· My technical title is
11·   ·behalf of Mr. Dondero's ex-wife served you with                               11·             ·director, but I -- I don't necessarily know
12·   ·the subpoena?                                                                 12·             ·specifically what that title means other than I
13·   · · · A.· · Correct.                                                           13·             ·act, as I understand it, as -- as a trustee for
14·   · · · Q.· · Okay.· You're familiar with an                                     14·             ·those -- for those assets.
15·   ·entity called CLO HoldCo Limited; is that                                     15·             · · · Q.· · And where did you get that
16·   ·right?                                                                        16·             ·understanding?
17·   · · · A.· · Yes.                                                               17·             · · · A.· · Approximately ten years ago from the
18·   · · · Q.· · Do you know what that entity is?                                   18·             ·group that -- that set up the hierarchy.
19·   · · · A.· · Yes.                                                               19·             · · · Q.· · And which group set up the
20·   · · · Q.· · What -- what -- can you describe for                               20·             ·hierarchy?
21·   ·me what CLO HoldCo Limited is.                                                21·             · · · A.· · Employees at Jim Don- -- as I
22·   · · · A.· · It's a holding company of assets                                   22·             ·understand it, employees of Highland along with
23·   ·including collateralized loan obligation-type                                 23·             ·outside counsel, as I understand it, and also,
24·   ·assets.· That's a portion of the overall                                      24·             ·I guess, input from -- from Jim Dondero.
25·   ·portfolio.· It's an organization that is                                      25·             · · · Q.· · At the time that you assumed the
                                                 Page 12                                                                                        Page 13
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·role of director of CLO HoldCo Limited, was                                   ·2·
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                                                                                                     ·in terms of the management, and so it's
·3·   ·that entity already in existence?                                             ·3·             ·frequently confusing and I'm having to clarify
·4·   · · · A.· · I believe so.· I'm not certain.· I'm                               ·4·             ·at times which entity we're talking about,
·5·   ·not certain.                                                                  ·5·             ·but -- but other parties frequently use those
·6·   · · · Q.· · What are your duties and                                           ·6·             ·terms interchangeably.
·7·   ·responsibilities as a director of CLO HoldCo                                  ·7·             · · · Q.· · Okay.
·8·   ·Limited?                                                                      ·8·             · · · · · · MR. MORRIS:· Lisa, when we use the
·9·   · · · A.· · Well, my day-to-day responsibilities                               ·9·             · · · phrase DAF, because you'll hear that a lot,
10·   ·are to interface with -- with the manager of                                  10·             · · · it's all caps, D-A-F.
11·   ·the -- of the assets of CLO.· I do have some                                  11·             ·BY MR. MORRIS:
12·   ·role in -- with respect to some of the entities                               12·             · · · Q.· · You mentioned that you interface
13·   ·that are -- I -- I have a limited role with                                   13·             ·with the manager of assets of CLOs.· Do I have
14·   ·respect to a subset of the charitable                                         14·             ·that right?
15·   ·foundations that receive money from the CLO                                   15·             · · · A.· · Well, of all the assets.
16·   ·HoldCo structure, which is commonly referred to                               16·             · · · Q.· · Okay.· Who is the manager of the
17·   ·as the DAF.· There's -- sometimes those are                                   17·             ·assets that you're referring to?
18·   ·used interchangeably.                                                         18·             · · · A.· · Highland Capital Management.
19·   · · · Q.· · What terms are used interchangeably?                               19·             · · · Q.· · Highland Capital Management manages
20·   · · · A.· · Well, the DAF and CLO HoldCo are                                   20·             ·all of the assets -- withdrawn.
21·   ·frequently -- by -- by other people they're --                                21·             · · · · · · Is it your understanding that
22·   ·it's the short -- it's the -- I guess it's                                    22·             ·Highland Capital Management manages all the
23·   ·easier to use the acronym DAF than CLO HoldCo                                 23·             ·assets that are owned by CLO HoldCo Limited?
24·   ·Limited, so I'm frequently having to -- there                                 24·             · · · A.· · Yes.
25·   ·is a DAF entity so -- that's above -- above CLO                               25·             · · · Q.· · Who makes the investment decisions

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Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                                Page 6 of 40 PageID 10379



                                                 Page 14                                                                                        Page 15
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·on behalf of CLO HoldCo Limited?                                              ·2·             ·and Mr. Covitz?
·3·   · · · A.· · Highland -- those managers that you                                ·3·             · · · A.· · Yeah.· Over the years I've worked
·4·   ·mentioned.                                                                    ·4·             ·with Tim Cournoyer, Thomas Surgent, but I
·5·   · · · Q.· · Okay.· I didn't mention anybody in                                 ·5·             ·think -- I think that's the core -- the core
·6·   ·particular.                                                                   ·6·             ·group.
·7·   · · · A.· · Oh, I'm sorry.· The -- the -- the                                  ·7·             · · · Q.· · All right.· And is there anybody
·8·   ·money manager -- could you repeat that                                        ·8·             ·within that core group who has the final
·9·   ·question?· I'm sorry.· I'm so sorry.                                          ·9·             ·decision-making authority concerning the
10·   · · · Q.· · Can you just -- can you just                                       10·             ·investments in CLO HoldCo Limited?
11·   ·identify for me the person who makes investment                               11·             · · · A.· · I don't -- I don't know.· I'm sorry.
12·   ·decisions on behalf of CLO HoldCo Limited.                                    12·             ·Say that again.· I just want to -- I'm sorry.
13·   · · · A.· · It's -- well, it's -- it's persons                                 13·             ·I'm trying to be -- I'm not trying to -- I'm
14·   ·as I understand it.· I inter- -- interface with                               14·             ·trying to be --
15·   ·a -- with a group, but it's -- it's Highland                                  15·             · · · Q.· · I understand.· And --
16·   ·Capital employee -- Highland Capital Management                               16·             · · · A.· · Sorry.· If you could just repeat it.
17·   ·employees.                                                                    17·             · · · Q.· · Sure.· Is there any particular
18·   · · · Q.· · Okay.· Can you just name any of                                    18·             ·person who has the final decision-making
19·   ·them, please.                                                                 19·             ·authority for investments that are being made
20·   · · · A.· · Hunter Covitz, Jim Dondero.· Mark                                  20·             ·on behalf of CLO HoldCo Limited?
21·   ·Okada's no longer there, but I believe he was                                 21·             · · · A.· · Amongst that group I am -- I am not
22·   ·involved, and there are others that I interface                               22·             ·sure.
23·   ·with.                                                                         23·             · · · Q.· · Okay.· So are there any other
24·   · · · Q.· · Can you -- can you recall the name                                 24·             ·directors of CLO HoldCo besides yourself?
25·   ·of anybody other than Mr. Okada and Mr. Dondero                               25·             · · · A.· · No.
                                                 Page 16                                                                                        Page 17
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · Q.· · Is it fair to say that you do not                                  ·2·
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                                                                                                     ·compensation?
·3·   ·make decisions, investment decisions, on behalf                               ·3·             · · · A.· · Yes.
·4·   ·of CLO HoldCo Limited?                                                        ·4·             · · · Q.· · And have you been the sole director
·5·   · · · A.· · Yes.                                                               ·5·             ·of CLO HoldCo Limited since the time of your
·6·   · · · Q.· · Does CLO HoldCo Limited have any                                   ·6·             ·appointment approximately ten years ago?
·7·   ·employees that you know of?                                                   ·7·             · · · A.· · Yes.
·8·   · · · A.· · No.                                                                ·8·             · · · Q.· · Nobody else has served in that
·9·   · · · Q.· · Does CLO HoldCo have any --                                        ·9·             ·capacity; is that right?
10·   ·withdrawn.                                                                    10·             · · · A.· · That is correct.
11·   · · · · · · Does CLO HoldCo Limited have any                                   11·             · · · Q.· · There have been no employees or
12·   ·officers that you know of?                                                    12·             ·officers of that entity during the time that
13·   · · · A.· · No.                                                                13·             ·you've served as director, correct?
14·   · · · Q.· · So am I correct that you're the only                               14·             · · · A.· · Yes.
15·   ·representative in the world of CLO HoldCo in                                  15·             · · · Q.· · Do you know who formed CLO HoldCo
16·   ·terms of being a director, officer, or                                        16·             ·Limited?
17·   ·employee?                                                                     17·             · · · A.· · I do not.
18·   · · · A.· · Yes.                                                               18·             · · · Q.· · Do you know why CLO HoldCo Limited
19·   · · · Q.· · Do you receive any compensation from                               19·             ·was formed?
20·   ·CLO HoldCo for your services as the director?                                 20·             · · · A.· · I believe so.
21·   · · · A.· · I do now.                                                          21·             · · · Q.· · Can you explain to me why -- your
22·   · · · Q.· · When did that begin?                                               22·             ·understanding as to why CLO HoldCo was formed.
23·   · · · A.· · I believe in the middle of 2012.                                   23·             · · · A.· · So as I understand things, Jim
24·   · · · Q.· · Okay.· And had you served as a                                     24·             ·Dondero wanted to create a charitable
25·   ·director prior to that time without                                           25·             ·foundation-like entity or entities, and tax

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Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                                Page 7 of 40 PageID 10380



                                                 Page 18                                                                                        Page 19
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·people particularly, I guess, finance people,                                 ·2·             ·any other duties and responsibilities as a
·3·   ·lawyers, they created this network of entities                                ·3·             ·director of CLO HoldCo Limited?
·4·   ·to carry out that charitable goal.· At one                                    ·4·             · · · A.· · Yes.· Sorry.· My mouth is a little
·5·   ·point, I thought it was a novel type of                                       ·5·             ·dry.
·6·   ·institution, if you want to call it, or a                                     ·6·             · · · Q.· · By the way, if you ever need to take
·7·   ·novel -- novel type of group of entities, but                                 ·7·             ·a break, just let me know.
·8·   ·over time, I came to understand that although                                 ·8·             · · · A.· · Okay.· Thank you.· Now I forgot your
·9·   ·not cookie cutter, it -- it follows a general                                 ·9·             ·question.· The -- the -- the --
10·   ·arrangement of entities for legal and tax                                     10·             · · · Q.· · I understand.
11·   ·purposes, compliance purposes, IRS purposes,                                  11·             · · · A.· · The answer -- the -- the answer is
12·   ·various insulating purposes to maintain -- or                                 12·             ·yes.· I -- why don't you ask -- ask your
13·   ·to meet the necessary requisites to carry out                                 13·             ·question again.· I'm sorry.
14·   ·that charitable function.                                                     14·             · · · Q.· · Sure.· Other than interfacing with
15·   · · · Q.· · When did you come to that                                          15·             ·the manager of the assets of the CLO, do you
16·   ·understanding?                                                                16·             ·have any other duties and responsibilities as
17·   · · · A.· · Over the last couple of years. I                                   17·             ·the sole director of CLO HoldCo Limited?
18·   ·periodically have to refresh my recollection.                                 18·             · · · A.· · Yes.· So Highland Capital because of
19·   ·It's -- it's fairly complex.                                                  19·             ·its -- the way it's set up to manage or service
20·   · · · Q.· · Okay.· In your capacity as the sole                                20·             ·CLO HoldCo and the DAF, it has a relatively
21·   ·director of CLO HoldCo Limited, do you report                                 21·             ·large group of people that I have to interface
22·   ·to anybody?                                                                   22·             ·with to do everything from -- everything from
23·   · · · A.· · No.                                                                23·             ·soup to nuts.· Finances and the money
24·   · · · Q.· · Other than interfacing with the                                    24·             ·management is one aspect, but most of my
25·   ·manager of the assets of the CLO, do you have                                 25·             ·time -- on a day-to-day or week-to-week basis,
                                                 Page 20                                                                                        Page 21
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·most of my time is spent working with the                                     ·2·
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                                                                                                     · · · Q.· · How much time do you devote -- you
·3·   ·various compliance and other people for                                       ·3·             ·know, can you estimate either on a weekly or a
·4·   ·addressing issues of get- -- you know, getting                                ·4·             ·monthly basis how many -- how much time do you
·5·   ·taxes filed.· It runs -- it runs the gamut of                                 ·5·             ·devote to serving as the director of CLO HoldCo
·6·   ·every aspect of the organization being -- being                               ·6·             ·Limited?
·7·   ·handled by Highland.                                                          ·7·             · · · A.· · I thought about that.· Well, let --
·8·   · · · Q.· · Okay.                                                              ·8·             ·let's put it this way:· There was the
·9·   · · · A.· · You know, unlike -- unlike my                                      ·9·             ·prebankruptcy time I spent per day, and then
10·   ·financial -- unlike a financial planner that                                  10·             ·there was the postbankruptcy time I've spent
11·   ·might, you know, manage assets, they -- they do                               11·             ·per -- per -- or per week -- excuse me, or
12·   ·it all, and I interface with them regularly to                                12·             ·per -- I've estimated it as probably a day --
13·   ·maintain -- mostly to deal with compliance                                    13·             ·it's so intermittent it's -- it's hard, okay?
14·   ·issues.                                                                       14·             ·It's -- I don't dedicate my Mondays to only
15·   · · · Q.· · Who's the com- -- is there a person                                15·             ·doing that and then Tuesday through Friday I
16·   ·who's in charge of compliance?                                                16·             ·don't, right?· I -- it's -- I have to piece
17·   · · · A.· · I believe Thomas Surgent. I                                        17·             ·together everything that occurs during the
18·   ·mentioned him.· I believe he also has that                                    18·             ·week.· There might be some weeks where I don't
19·   ·role, but it's -- you know, they do have                                      19·             ·have any contact.· There might be every day of
20·   ·turnover, I guess, in that.· It's -- I guess                                  20·             ·the week I have multiple contact.· There may be
21·   ·they refer to it as the back office.· I've                                    21·             ·days where from morning to night there is so
22·   ·heard that term be used, but -- basically, it's                               22·             ·much contact, it precludes me from doing
23·   ·a large number of people that have changed over                               23·             ·anything else meaningfully.· So -- but I would
24·   ·time, but it's -- it's more -- I believe it's                                 24·             ·estimate it's probably three or four -- maybe
25·   ·more than one collectively.                                                   25·             ·three days, four days a month when things are

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Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                                Page 8 of 40 PageID 10381



                                                 Page 22                                                                                        Page 23
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·going well.                                                                   ·2·             ·CLO HoldCo Limited?
·3·   · · · Q.· · And -- and I think you -- you                                      ·3·             · · · A.· · Well, initially, and this would
·4·   ·testified just now that there was kind of a                                   ·4·             ·be -- this would be late 2019, it was --
·5·   ·difference between prebankruptcy and                                          ·5·             ·aft- -- after the bankruptcy was -- was filed
·6·   ·postbankruptcy.· Do I have that right?                                        ·6·             ·and I obtained counsel, who are on the phone
·7·   · · · A.· · Yes.                                                               ·7·             ·now -- or in this deposition now, excuse me,
·8·   · · · Q.· · And can you tell me -- is it fair to                               ·8·             ·that was -- that transition occurred because
·9·   ·say that before the bankruptcy, you didn't                                    ·9·             ·CLO was a debtor -- excuse me, a creditor to --
10·   ·devote much time to CLO HoldCo, or do I have                                  10·             ·to the debtor and had to take steps to
11·   ·that wrong?                                                                   11·             ·establish its -- its claim.· So if I understand
12·   · · · A.· · Well, I -- just the time that --                                   12·             ·the -- things correctly, the -- the debtor
13·   ·that I mentioned just -- I'm sorry.· The -- the                               13·             ·identified as part of the filing -- I don't
14·   ·time I just mentioned now when you asked me,                                  14·             ·know how bankruptcy works, but if I under- --
15·   ·that was the pre period.· Excuse me.· I haven't                               15·             ·if my recollection is correct, there's a
16·   ·talked about the postbankruptcy period.                                       16·             ·hierarchy from biggest to smallest, and we were
17·   · · · Q.· · So are you -- are you -- are you                                   17·             ·relatively high up.· And when I say we or I,
18·   ·devoting more time or less time since the                                     18·             ·I -- I just mean CLO was relatively high up.
19·   ·bankruptcy?                                                                   19·             ·And so initially, for the first period of so
20·   · · · A.· · Much more.                                                         20·             ·many months, the -- the exclusive focus was on
21·   · · · Q.· · Much more since the bankruptcy                                     21·             ·our position as a creditor -- a creditor having
22·   ·filing?                                                                       22·             ·a certain claim against a debtor.
23·   · · · A.· · Yes.                                                               23·             · · · Q.· · Can you describe for me your
24·   · · · Q.· · And so why did the bankruptcy filing                               24·             ·understanding of the nature of the claim
25·   ·cause you to spend more time as a director of                                 25·             ·against the debtor.
                                                 Page 24                                                                                        Page 25
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · A.· · It was various obligations that were                               ·2·
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                                                                                                     ·guess I was more of a research engineer, if
·3·   ·owed to -- to CLO, things that had been                                       ·3·             ·that matters.· And I did that until I
·4·   ·previously donated or -- or agreements that had                               ·4·             ·transitioned -- or I began law school in the
·5·   ·been set up that transferred certain assets,                                  ·5·             ·fall of 1988, and then I graduated law school
·6·   ·and it was basically the -- the -- the amounts                                ·6·             ·in May of 1991.
·7·   ·were derived from those sorts of transactions.                                ·7·             · · · Q.· · And where did you go to law school?
·8·   · · · Q.· · Okay.· You're a patent lawyer; is                                  ·8·             · · · A.· · University of North Carolina.
·9·   ·that right?                                                                   ·9·             · · · Q.· · Do you have any formal training in
10·   · · · A.· · I -- I'm exclusively a patent                                      10·             ·investing or finance?
11·   ·attorney, yes.                                                                11·             · · · A.· · I do not.
12·   · · · Q.· · Have you been a patent lawyer on an                                12·             · · · Q.· · Do you hold yourself out as an
13·   ·exclusive basis since the time you graduated                                  13·             ·expert in any field of investment?
14·   ·from law school?                                                              14·             · · · A.· · None -- none at all.
15·   · · · A.· · From law school, yes.                                              15·             · · · Q.· · Have you had any formal training
16·   · · · Q.· · Can you just describe for me                                       16·             ·with respect to compliance issues?· You
17·   ·generally your educational background.                                        17·             ·mentioned compliance issues earlier.
18·   · · · A.· · So I'm an electrical engineer by                                   18·             · · · A.· · No.
19·   ·training.· I graduated from the University of                                 19·             · · · Q.· · Now, do you have any knowledge about
20·   ·Virginia in 1984.· I then went to graduate                                    20·             ·compliance rules or regulations?
21·   ·school at the University of Illinois. I                                       21·             · · · A.· · Minimal that I've -- that have
22·   ·received my master's degree in 1986, and then I                               22·             ·occurred organically but -- but generally, no.
23·   ·immediately joined IBM Research at the Thomas                                 23·             · · · Q.· · You don't hold yourself out as an
24·   ·Watson Institute in New York where I was a --                                 24·             ·expert in com- -- in the area of compliance,
25·   ·my title was research scientist, but I was -- I                               25·             ·correct?

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Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                                Page 9 of 40 PageID 10382



                                                 Page 26                                                                                        Page 27
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · A.· · No.· No.· I'm -- no.                                               ·2·             ·without your prior knowledge on occasion?
·3·   · · · Q.· · Do you have any particular                                         ·3·             · · · A.· · On occasion, they do.
·4·   ·investment philosophy or strategy?                                            ·4·             · · · Q.· · So there's no rule that your prior
·5·   · · · · · · MR. CLARK:· I'm going to object to                                 ·5·             ·approval is needed before investments are made,
·6·   · · · the form of the question.· And, John,                                    ·6·             ·right?
·7·   · · · can -- can we get an agreement that -- I                                 ·7·             · · · A.· · I don't know whether they have an
·8·   · · · know you were objecting just simply on the                               ·8·             ·internal guideline as to the amount that
·9·   · · · form basis yesterday -- that objection to                                ·9·             ·triggers when they get in touch with me or
10·   · · · form is sufficient today?                                                10·             ·whether it's a new -- a change, something new,
11·   · · · · · · MR. MORRIS:· Sure.                                                 11·             ·or -- versus recurring.· So I don't -- I don't
12·   · · · · · · MR. CLARK:· Okay.· And I object to                                 12·             ·know what they use internally for that metric.
13·   · · · form.· Grant, you can answer to the extent                               13·             · · · Q.· · Okay.· Are you aware of any
14·   · · · you can.                                                                 14·             ·guideline that was ever used by the Highland
15·   · · · · · · THE WITNESS:· I forget the question                                15·             ·employees whereby they were required to obtain
16·   · · · now that you interrupted.· I'm sorry.                                    16·             ·your consent prior to effectuating transactions
17·   ·BY MR. MORRIS:                                                                17·             ·on behalf of CLO HoldCo Limited?
18·   · · · Q.· · So -- so -- and I'm going to ask a                                 18·             · · · A.· · I understand there was one or more,
19·   ·different question because in hindsight, that's                               19·             ·but I do not know that.
20·   ·a good objection.                                                             20·             · · · Q.· · Okay.· Did you ever see such a
21·   · · · · · · In your capacity as the director                                   21·             ·policy or list of rules that would require your
22·   ·of -- withdrawn.                                                              22·             ·prior consent before the Highland employees
23·   · · · · · · Do the employees of Highland that                                  23·             ·effectuated transactions on behalf of CLO
24·   ·you identified earlier, do they make investment                               24·             ·HoldCo Limited?
25·   ·decisions on behalf of CLO HoldCo Limited                                     25·             · · · A.· · Possibly some time ago, but I -- I
                                                 Page 28                                                                                        Page 29
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·don't recall.                                                                 ·2·
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                                                                                                     ·did not start out at UVA initially, but -- but
·3·   · · · Q.· · Okay.· So -- withdrawn.· I'll --                                   ·3·             ·we both transferred -- I transferred my
·4·   ·I'll go on.                                                                   ·4·             ·sophomore year.· I was actually a chemical
·5·   · · · · · · How did you come to be the director                                ·5·             ·engineer at the University of Delaware when I
·6·   ·of CLO HoldCo?                                                                ·6·             ·transferred in, and then he transferred in his
·7·   · · · A.· · I was asked either by Jim Dondero                                  ·7·             ·junior year.· So we were there at college for
·8·   ·or -- directly or indirectly by -- by Jim                                     ·8·             ·two years.
·9·   ·Dondero.                                                                      ·9·             · · · Q.· · And -- and based on your
10·   · · · Q.· · And who is Jim Dondero?                                            10·             ·relationship with him, is it your understanding
11·   · · · A.· · Well, at the time, he was the head                                 11·             ·that one of the reasons he chose to transfer to
12·   ·or one of the heads of Highland Capital                                       12·             ·UVA is -- is to -- because you were there?
13·   ·Management, a friend of mine.                                                 13·             · · · A.· · Oh, no.· He transferred -- he --
14·   · · · Q.· · How long have you known Mr. Dondero?                               14·             ·he -- he transferred there because of the -- so
15·   · · · A.· · Since high school so that -- 1976.                                 15·             ·he went to the University of -- he -- he went
16·   · · · Q.· · Where did you and Mr. Dondero grow                                 16·             ·to Virginia Tech University, which is more
17·   ·up?                                                                           17·             ·known as being an engineering school, which I
18·   · · · A.· · In northern New Jersey.                                            18·             ·might have wanted to go to, and less a finance
19·   · · · Q.· · Do you consider him among the                                      19·             ·business school.· And if I understand things
20·   ·closest friends you have?                                                     20·             ·correctly, and I believe I do, he transferred
21·   · · · A.· · I think he is my closest friend.                                   21·             ·to UVA because of the well-known
22·   · · · Q.· · Did you two go to college together?                                22·             ·business/finance program, accounting program.
23·   · · · A.· · We actually -- for the last -- last                                23·             · · · Q.· · And did you -- did you and
24·   ·two years I was at UVA, University of Virginia,                               24·             ·Mr. Dondero become roommates at UVA?
25·   ·excuse me, he and I were -- were at UVA.· So we                               25·             · · · A.· · We weren't roommates, but we lived

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                                                                                                                                     Appx. 01801
Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                               Page 10 of 40 PageID 10383



                                                 Page 30                                                                                        Page 31
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·in the -- we were housemates.· I'm sorry.· We                                 ·2·             · · · · · · MR. CLARK:· Objection, form.
·3·   ·were housemates.                                                              ·3·             ·BY MR. MORRIS:
·4·   · · · Q.· · So you shared a house together.· How                               ·4·             · · · Q.· · Withdrawn.
·5·   ·would you describe your relationship with                                     ·5·             · · · · · · Do you believe that Mr. Dondero
·6·   ·Mr. Dondero today?                                                            ·6·             ·trusts you?
·7·   · · · A.· · It's -- it's been strained a while,                                ·7·             · · · A.· · I do.
·8·   ·for some time, but -- but generally, very good.                               ·8·             · · · Q.· · Over the years, is it fair to say
·9·   ·Good to very good.                                                            ·9·             ·that Mr. Dondero has confided in you?
10·   · · · Q.· · Without -- without getting personal                                10·             · · · · · · MR. CLARK:· Objection, form.
11·   ·here, can you just generally identify the                                     11·             ·BY MR. MORRIS:
12·   ·source of the strain that you described.                                      12·             · · · Q.· · You can answer if you understand it.
13·   · · · A.· · This -- I think it would be fair to                                13·             · · · A.· · I think so.
14·   ·say that this bankruptcy, particularly events                                 14·             · · · Q.· · I -- I -- what's your answer?· You
15·   ·in 2020 so some months after the bankruptcy was                               15·             ·think so?
16·   ·declared, things have become -- we -- we still                                16·             · · · A.· · Maybe you can de- -- I think of
17·   ·have a close friendship, but -- but things                                    17·             ·confide as -- could you define confide, please.
18·   ·are -- are a bit -- are a bit more difficult.                                 18·             · · · Q.· · Sure.· Is it -- is it fair to say
19·   · · · Q.· · Were you ever married?                                             19·             ·that over the -- let me -- you've known
20·   · · · A.· · I've never been married.                                           20·             ·Mr. Dondero for almost 45 years, right?
21·   · · · Q.· · Did you serve as Mr. Dondero's best                                21·             · · · A.· · Yes.
22·   ·man at his wedding?                                                           22·             · · · Q.· · And you consider him to be your
23·   · · · A.· · I did.                                                             23·             ·closest friend in the world, right?
24·   · · · Q.· · Is it fair to say that -- that                                     24·             · · · A.· · Yes.
25·   ·Mr. Dondero trusts you?                                                       25·             · · · Q.· · And is it fair to say over the
                                                 Page 32                                                                                        Page 33
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·course of those 45 years, Mr. Dondero has                                     ·2·
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                                                                                                     · · · A.· · I'm sorry.· Could you repeat that?
·3·   ·shared confidential information with you that                                 ·3·             ·My -- my screen went small and then big again.
·4·   ·he didn't want you to reveal publicly to other                                ·4·             ·I was distracted.
·5·   ·people?                                                                       ·5·             · · · Q.· · What role does Mr. Dondero play with
·6·   · · · A.· · Yes.                                                               ·6·             ·respect to the management of the CLO HoldCo
·7·   · · · Q.· · And is it your understanding that                                  ·7·             ·Limited asset pool?
·8·   ·because of the nature of your relationship with                               ·8·             · · · · · · MR. CLARK:· Objection, form.
·9·   ·him, he asked you to serve as the director of                                 ·9·             · · · A.· · He is with the company that manages
10·   ·CLO HoldCo Limited?                                                           10·             ·that asset pool.· He's one of the people I
11·   · · · A.· · Yes.· I believe it's because he --                                 11·             ·named previously as managing those assets.
12·   ·he trusted -- trusted me with -- with assets                                  12·             · · · Q.· · He is -- he -- he is the -- do you
13·   ·relating to his charitable vision.· I -- I --                                 13·             ·understand that he has the final
14·   ·yeah.· Yes.                                                                   14·             ·decision-making power with respect to the
15·   · · · Q.· · And is it your understanding that he                               15·             ·management of the assets that are held by CLO
16·   ·thought you would help him execute his                                        16·             ·HoldCo Limited?
17·   ·charitable vision?                                                            17·             · · · · · · MR. CLARK:· Objection, form.
18·   · · · A.· · That was the point of attraction                                   18·             · · · A.· · I believe I ansel -- answered that
19·   ·initially.· It wasn't for money.· I wasn't                                    19·             ·previously.· I -- I don't know who has -- for
20·   ·being paid.· That was -- the charitable mission                               20·             ·certainty I do not know who has that within
21·   ·was the attraction.                                                           21·             ·that company.· I don't.· If -- if -- I -- I
22·   · · · Q.· · Does Mr. Dondero play any role in                                  22·             ·don't know, consistent with my prior answer.
23·   ·the management of the CLO HoldCo Limited asset                                23·             · · · Q.· · Did you ever ask anybody who had the
24·   ·pool?                                                                         24·             ·final decision-making authority for investments
25·   · · · · · · MR. CLARK:· Objection, form.                                       25·             ·on behalf of CLO HoldCo Limited?

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Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                               Page 11 of 40 PageID 10384



                                                 Page 34                                                                                        Page 35
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · A.· · I -- I did not.                                                    ·2·             ·how the request was transmitted to me, but I
·3·   · · · Q.· · Did you ever make a decision on                                    ·3·             ·believe the way it played out is as follows: I
·4·   ·behalf of -- withdrawn.                                                       ·4·             ·believe I was asked to call Jim Seery, and the
·5·   · · · · · · In your capacity as a director --                                  ·5·             ·other -- and Russell Nelms, and the third
·6·   ·withdrawn.                                                                    ·6·             ·independent director, I believe his name is
·7·   · · · · · · In your capacity as the sole                                       ·7·             ·John.· I -- I forget right now what his last
·8·   ·director of CLO HoldCo Limited, can you think                                 ·8·             ·name is.· They were in New York, said they were
·9·   ·of any decision that you've ever made that                                    ·9·             ·in a conference room.· I called in.· They were
10·   ·Mr. Dondero disagreed with?                                                   10·             ·very pleasant.· They identified who they were,
11·   · · · A.· · Since -- prior to the bankruptcy,                                  11·             ·and they had a request, and the request was
12·   ·no, not that I'm aware of.                                                    12·             ·that I agree to a transfer -- or that I -- that
13·   · · · Q.· · And since the bankruptcy?                                          13·             ·I agree to allow certain assets that were not
14·   · · · A.· · There are decisions that I've made                                 14·             ·Highland's assets but they were CLO's as- --
15·   ·that he's disagreed with.                                                     15·             ·assets -- apparently, there was no dispute
16·   · · · Q.· · Can you identify them?                                             16·             ·about that at any point in time, but that I
17·   · · · A.· · Yes.                                                               17·             ·agree to allow certain assets that were due CLO
18·   · · · Q.· · Please do so.                                                      18·             ·to be transferred to the registry of the
19·   · · · A.· · Okay.· So the reason I'm pausing is                                19·             ·bankruptcy court.· And either on that call I
20·   ·I'm trying to put these in chronological order                                20·             ·immediately agreed or ended the call, called my
21·   ·and, at the same time, identify maybe some of                                 21·             ·attorney, and then immediately agreed.· It was
22·   ·the more important ones versus the lesser                                     22·             ·a very -- I accommodated the request quickly.
23·   ·important ones.· One of the decisions I made                                  23·             · · · Q.· · Okay.· And can you just tell me at
24·   ·related to a request that I received from the                                 24·             ·what point in time you spoke with Mr. Dondero,
25·   ·independent board of Highland.· I don't know                                  25·             ·and what did he say that you recall?
                                                 Page 36                                                                                        Page 37
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · A.· · I don't know when he became aware of                               ·2·
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                                                                                                     ·did Mr. Dondero say to you that -- that causes
·3·   ·that decision.· I'm not sure I ever volunteered                               ·3·             ·you to testify as you did, that this is one
·4·   ·that the decision was even made, but at some                                  ·4·             ·issue that he didn't agree with?
·5·   ·point, it became an issue because he found out                                ·5·             · · · A.· · I believe his concern was that
·6·   ·through -- if I understand the sequence of                                    ·6·             ·because it was money that was undisputably to
·7·   ·events correctly, he found out possibly through                               ·7·             ·flow to CLO HoldCo that -- which had many, many
·8·   ·his counsel because there was ultimately                                      ·8·             ·other nonliquid assets -- this was a form of a
·9·   ·litigation about that issue.· It became known                                 ·9·             ·liquid asset.· It was cash in effect, proceeds.
10·   ·to everyone at some point what I had done, I --                               10·             ·-- that the money should have been allowed to
11·   ·I think.· And subsequent to that, it became an                                11·             ·flow to be available for obligations.· He
12·   ·issue because of CLO HoldCo having fairly                                     12·             ·didn't under- -- I -- I -- I don't know what he
13·   ·significant cash flow issues with respect to                                  13·             ·was thinking, but the -- the issue was that the
14·   ·its expenses and obligations, including payment                               14·             ·decision to put it into escrow was -- was --
15·   ·of management fees as well as some of the                                     15·             ·was in- -- incorrect, that there was no basis
16·   ·scheduled charitable giving that was -- that                                  16·             ·for it.
17·   ·was by contract already predefined.· My                                       17·             · · · Q.· · That -- that's an issue where after
18·   ·decision to tuck that money -- or to agree                                    18·             ·learning of your decision, he didn't agree with
19·   ·to -- my agreement to let that money be tucked                                19·             ·it; is that fair?
20·   ·away created some -- created some -- created                                  20·             · · · A.· · That's right.
21·   ·some problems --                                                              21·             · · · Q.· · Okay.· Can you think of any decision
22·   · · · Q.· · And -- and --                                                      22·             ·that you've ever made on behalf of CLO HoldCo
23·   · · · A.· · -- for CLO HoldCo.                                                 23·             ·Limited where Mr. Dondero had advance knowledge
24·   · · · Q.· · Okay.· And I just want you to focus                                24·             ·of what you were going to do and he objected to
25·   ·specifically on my question, and that is, what                                25·             ·it, but you nevertheless overruled his

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Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                               Page 12 of 40 PageID 10385



                                                 Page 38                                                                                        Page 39
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·objection and went ahead and did what -- did                                  ·2·             ·I -- I don't know what his thoughts are on
·3·   ·what you thought was right?                                                   ·3·             ·objections.· They would not have been
·4·   · · · A.· · Okay.· Let me -- let me -- I have --                               ·4·             ·communicated with -- by me to him, but my
·5·   ·I'm sorry.                                                                    ·5·             ·attorney might have consulted with his
·6·   · · · Q.· · We're here.                                                        ·6·             ·attorney, and there -- they may know what that
·7·   · · · A.· · Oh, I'm sorry.· I'm having some                                    ·7·             ·difference is, but I -- that was just another
·8·   ·issues with my screen.· So that may have                                      ·8·             ·big decision.· I -- I -- maybe that --
·9·   ·occurred with respect to the original proof of                                ·9·             · · · Q.· · All right.· Let me see if I can --
10·   ·claim.· Then there was a subsequent amendment                                 10·             ·let me see if I can summarize this.· So two
11·   ·to the proof of claim, and I -- I believe it --                               11·             ·proofs of claim.· Is it fair to say that
12·   ·I believe that he might have been aware of both                               12·             ·Mr. Dondero saw those proofs of claim before
13·   ·of those and was in disagreement with -- with                                 13·             ·they were filed?
14·   ·those.· But after working with my attorney, we                                14·             · · · · · · MR. CLARK:· Objection, form.
15·   ·just -- you know, we did what we thought was                                  15·             ·BY MR. MORRIS:
16·   ·right, and I still think what we did was right.                               16·             · · · Q.· · Withdrawn.
17·   ·There was an issue with respect to Har- --                                    17·             · · · A.· · It --
18·   ·HarbourVest that occurred relatively recently                                 18·             · · · Q.· · Do -- do you know whether
19·   ·where he objected to a decision that I had                                    19·             ·Mr. Dondero saw the proofs of claim before they
20·   ·made.· As I understand it, I could have                                       20·             ·were filed?
21·   ·contacted my attorney and changed the decision,                               21·             · · · A.· · I don't believe he did.
22·   ·but I didn't, and I still think that was the                                  22·             · · · Q.· · What -- what steps in filing the
23·   ·right decision.                                                               23·             ·proofs of claim did he object to that you
24·   · · · · · · We have filed plan objections. I                                   24·             ·overruled?· Did he think there was -- something
25·   ·can't say if he has any -- in that regard, I --                               25·             ·should be different about them?
                                                 Page 40                                                                                        Page 41
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · A.· · So we had to interface with Highland                               ·2·
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                                                                                                     ·with the word.· Could you please repeat that?
·3·   ·employees at some point to get information to                                 ·3·             · · · Q.· · Yes.· You mentioned HarbourVest
·4·   ·support our proof of claim, and my guess, and                                 ·4·             ·before, right?
·5·   ·it's just a guess, is that he was aware of                                    ·5·             · · · A.· · Yes.
·6·   ·those inquiries.· I -- I'm sorry.· I shouldn't                                ·6·             · · · Q.· · And you mentioned that there was an
·7·   ·speculate.· I don't know.· But he -- with                                     ·7·             ·issue with Mr. Dondero and you concerning
·8·   ·respect to the original proof of claim, I'm --                                ·8·             ·HarbourVest; is that right?
·9·   ·I'm not aware of what specifically he was                                     ·9·             · · · A.· · Yes.
10·   ·objecting to or was -- thought should have been                               10·             · · · Q.· · And did that have to do with whether
11·   ·different, but the -- with respect to the                                     11·             ·or not CLO HoldCo Limited would -- would object
12·   ·amended proof of claim, which reduced the                                     12·             ·to the debtor's motion to get the HarbourVest
13·   ·original proof of claim to zero, I think that's                               13·             ·settlement approved?
14·   ·where he had a -- an issue.                                                   14·             · · · A.· · Would -- would get the
15·   · · · Q.· · And did you speak with him about                                   15·             ·HarbourVest --
16·   ·that topic prior to the time the amended claim                                16·             · · · Q.· · Settlement approved by the court.
17·   ·was filed, or did you only speak with him after                               17·             · · · A.· · I'm not trying to be difficult.
18·   ·it was filed?                                                                 18·             ·I'm -- I'm -- could you just repeat that one
19·   · · · A.· · I'm not sure the timing of that.                                   19·             ·more time?· I'm --
20·   · · · Q.· · And with respect to HarbourVest, did                               20·             · · · Q.· · What was -- what was --
21·   ·he ask you to object to the settlement on                                     21·             · · · A.· · There was --
22·   ·behalf of CLO HoldCo Limited, and is that                                     22·             · · · Q.· · Let me try again.
23·   ·something that you declined to do?                                            23·             · · · A.· · Okay.
24·   · · · · · · MR. CLARK:· Objection, form.                                       24·             · · · Q.· · What was the issue with respect to
25·   · · · A.· · I'm -- I'm sorry.· I was confused                                  25·             ·HarbourVest that he objected to and -- and you

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Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                               Page 13 of 40 PageID 10386



                                                 Page 42                                                                                        Page 43
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·overrode his objection and did what you thought                               ·2·             · · · Q.· · -- if you know?
·3·   ·was right anyway?                                                             ·3·             · · · A.· · I -- I understand that he learned it
·4·   · · · A.· · Okay.· Okay.· That's -- that's                                     ·4·             ·during the hearing.· I don't know the -- I -- I
·5·   ·easier for me to understand.· I'm sorry.· So I                                ·5·             ·don't know the -- whether there was any -- I --
·6·   ·had worked with my attorney or he did the work                                ·6·             ·I don't know for certain on the second half of
·7·   ·and consulted with -- we consulted, but we had                                ·7·             ·your question.
·8·   ·filed an objection, motion objecting to the                                   ·8·             · · · Q.· · Let me -- let me try it -- let me
·9·   ·settlement, if I understand the terminology and                               ·9·             ·try it this way:· Did you speak with
10·   ·nomenclature correctly.· Okay.· He had -- we                                  10·             ·Mr. Dondero about your decision to withdraw the
11·   ·had come to an agreement that we had a very                                   11·             ·objection to the HarbourVest settlement prior
12·   ·valid argument.· That argument was evidenced                                  12·             ·to the time your counsel made the announcement
13·   ·by, I guess it was, our motion that was                                       13·             ·in court?
14·   ·submitted to the court.· On the day of the                                    14·             · · · A.· · I don't -- I don't believe so.· No.
15·   ·hearing to resolve this issue, we pulled our                                  15·             ·No.· No.· I'm sorry.· No.
16·   ·request, and that was because I believed it did                               16·             · · · Q.· · And did --
17·   ·not have a good-faith basis in law to move                                    17·             · · · A.· · Okay.· No.· Here -- here's where
18·   ·forward on.                                                                   18·             ·I'm -- I can clarify, okay?· I'm sorry.· I can
19·   · · · Q.· · And did you discuss that issue with                                19·             ·clarify.
20·   ·Mr. Dondero before informing the court that CLO                               20·             · · · Q.· · That's all right.
21·   ·HoldCo Limited was withdrawing its objection,                                 21·             · · · A.· · I gave the decision to my
22·   ·or did he learn about that for the first time                                 22·             ·attorney -- I -- I agreed with the
23·   ·during the hearing --                                                         23·             ·recommendation of my attorney, okay?· It wasn't
24·   · · · · · · MR. CLARK:· Objection, form.                                       24·             ·my --
25·   ·BY MR. MORRIS:                                                                25·             · · · Q.· · Did you have a good --
                                                 Page 44                                                                                        Page 45
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · A.· · -- thought, okay?                                                  ·2·
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                                                                                                     ·attorney made a recommendation.· I agreed with
·3·   · · · · · · THE REPORTER:· I didn't --                                         ·3·             ·it.· We with- -- I -- I told him to withdraw --
·4·   · · · A.· · Okay.· So he --                                                    ·4·             ·or I authorized him to withdraw.
·5·   · · · Q.· · It was a recommendation.                                           ·5·             · · · Q.· · Okay.
·6·   · · · A.· · Yeah.· So he -- he called me with a                                ·6·             · · · A.· · Then I received a communication, and
·7·   ·recommendation.· It was highly urgent.· You                                   ·7·             ·I -- I guess the most likely scenario is the
·8·   ·know, I was coming out of the men's room, had                                 ·8·             ·motion had been withdrawn by the time Jim
·9·   ·my phone with me.· I got the call.                                            ·9·             ·Dondero found out.
10·   · · · · · · MR. CLARK:· Hey, Grant, I -- Grant,                                10·             · · · Q.· · And -- and did he write to you, or
11·   · · · I just want to caution you not to -- to --                               11·             ·did he call you?· Did he send you a text?
12·   · · · and I don't think counsel is looking for                                 12·             · · · A.· · He called me.
13·   · · · this but not to disclose the -- the                                      13·             · · · Q.· · What did he say?
14·   · · · substance of any of your communications                                  14·             · · · A.· · He was asking why, and I explained,
15·   · · · with counsel, okay?                                                      15·             ·and I said I agreed with the decision and I was
16·   · · · · · · THE WITNESS:· Thank you.                                           16·             ·sticking with the decision.
17·   · · · A.· · So --                                                              17·             · · · Q.· · Let's just -- let's just move on to
18·   · · · · · · THE WITNESS:· Thank you.· I'm -- I'm                               18·             ·a new topic, and let's talk about the structure
19·   · · · sorry.                                                                   19·             ·of -- of CLO HoldCo.· Are you generally
20·   ·BY MR. MORRIS:                                                                20·             ·familiar with the ownership structure of CLO
21·   · · · Q.· · It's -- it's really a very simple                                  21·             ·HoldCo?
22·   ·question.· Do you recall --                                                   22·             · · · A.· · Yeah.· I mean, in terms --
23·   · · · A.· · He made a recommendation.· I -- I --                               23·             · · · Q.· · Are -- are you -- are you generally
24·   ·I think I can answer your question without                                    24·             ·familiar with it?· It's not a test.· I'm just
25·   ·going off tangent.· I'm sorry.· So he -- my                                   25·             ·asking do you have a general familiarity --

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Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                               Page 14 of 40 PageID 10387



                                                 Page 46                                                                                        Page 47
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · A.· · With CLO HoldCo or the entities                                    ·2·             ·comports with your understanding of the facts.
·3·   ·associated with CLO HoldCo?                                                   ·3·             · · · · · · Do you know that CLO HoldCo Limited
·4·   · · · Q.· · The latter.                                                        ·4·             ·was formed in the Cayman Islands?
·5·   · · · A.· · Yes, I believe so.                                                 ·5·             · · · A.· · Yes.
·6·   · · · Q.· · All right.· I've prepared what's                                   ·6·             · · · Q.· · And to the best of your knowledge,
·7·   ·called a demonstrative exhibit.· It's just --                                 ·7·             ·is CLO HoldCo Limited 100 percent owned by the
·8·   · · · A.· · Yes.                                                               ·8·             ·Charitable DAF Fund, L.P.?· If you're not sure,
·9·   · · · Q.· · -- just -- it's a document that, I                                 ·9·             ·just say you're not sure if you don't know.
10·   ·think, reflects facts, but I want to ask you                                  10·             ·It's not a test.
11·   ·about it.                                                                     11·             · · · A.· · So the -- the -- the familiarity
12·   · · · · · · MR. MORRIS:· La Asia, can we please                                12·             ·I -- I'm -- I'm familiar with the different --
13·   · · · put up Exhibit 1.                                                        13·             ·I'm confused with the arrangement of the boxes
14·   · · · · · · (SCOTT EXHIBIT 1, Organizational                                   14·             ·and the ownership interest versus managerial
15·   · · · Structure:· CLO HoldCo, Ltd., was marked                                 15·             ·interest.· I believe that's -- that's right.
16·   · · · for identification.)                                                     16·             · · · Q.· · Okay.· And -- and you're the sole
17·   ·BY MR. MORRIS:                                                                17·             ·director of CLO HoldCo Limited, right?
18·   · · · Q.· · Okay.· Can you see that, Mr. Scott?                                18·             · · · A.· · Yes.
19·   · · · A.· · Yes, I can.                                                        19·             · · · Q.· · And this whole structure was -- the
20·   · · · Q.· · Okay.· So I think I took the                                       20·             ·idea for this structure, to the best of your
21·   ·information from resolutions that were attached                               21·             ·knowledge, was to implement Mr. Dondero's plan
22·   ·to the CLO HoldCo proof of claim, and that's                                  22·             ·for charitable giving; is that fair?
23·   ·why you got that little footnote there at the                                 23·             · · · A.· · Yes.· Ultimately, yes.
24·   ·bottom of the page.· But let's start in the                                   24·             · · · Q.· · And is it fair to say then that
25·   ·lower right-hand corner and see if this chart                                 25·             ·he -- he made the decision to establish this
                                                 Page 48                                                                                        Page 49
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·particular structure, to the best of your                                     ·2·
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                                                                                                     · · · Q.· · And to the best of your knowledge,
·3·   ·knowledge?                                                                    ·3·             ·is the Charitable DAF GP, LLC, the general
·4·   · · · A.· · I -- I didn't -- I'm sorry. I                                      ·4·             ·partner of Charitable DAF Fund, L.P.?
·5·   ·didn't hear you very well.                                                    ·5·             · · · A.· · Yes.
·6·   · · · Q.· · To the best of your knowledge, did                                 ·6·             · · · Q.· · And is it your understanding that
·7·   ·Mr. Dondero make the decisions to establish the                               ·7·             ·you are the managing member of Charitable DAF
·8·   ·structure that's reflected on this page?                                      ·8·             ·GP, LLC?
·9·   · · · A.· · Oh, I don't know if he made the                                    ·9·             · · · A.· · Yes.
10·   ·decision to establish this structure, although                                10·             · · · Q.· · Does Charitable DAF GP, LLC, have
11·   ·it's -- it's -- I'm sorry.· Strike that.· I --                                11·             ·any employees?
12·   ·if -- if what you're saying is did he approve                                 12·             · · · A.· · No.
13·   ·of this structure, to my knowledge, yes.                                      13·             · · · Q.· · Does Charitable DAF GP, LLC, have
14·   · · · Q.· · Okay.· Do you hold any position with                               14·             ·any officers or directors?
15·   ·respect to Charitable DAF Fund, L.P.?                                         15·             · · · A.· · No.
16·   · · · A.· · I -- I -- your chart says no.· I --                                16·             · · · Q.· · Are you the only person affiliated
17·   ·I -- I thought I had a role there, too.                                       17·             ·with Charitable DAF GP, LLC, to the best of
18·   · · · Q.· · I don't know.· I don't have                                        18·             ·your --
19·   ·information on that.· That's why I'm asking the                               19·             · · · A.· · I believe so.
20·   ·question.                                                                     20·             · · · Q.· · Do you receive any compensation for
21·   · · · A.· · I -- I -- I believe -- yes, I                                      21·             ·serving as the managing member of Charitable
22·   ·believe I have the same role as I do in -- in                                 22·             ·DAF GP, LLC?
23·   ·CLO HoldCo.                                                                   23·             · · · A.· · No.· The -- I don't interact with it
24·   · · · Q.· · And that would be director?                                        24·             ·very often.· It's -- no, I don't receive any
25·   · · · A.· · Yes.                                                               25·             ·compensation.

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Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                               Page 15 of 40 PageID 10388



                                                 Page 50                                                                                        Page 51
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · Q.· · Can you tell me in your capacity as                                ·2·             ·Charitable DAF Fund, L.P., Grant Scott,
·3·   ·the managing member of Charitable DAF GP, LLC,                                ·3·             ·director, and we put under CLO HoldCo Limited
·4·   ·what's the nature of that entity's business?                                  ·4·             ·Grant Scott, director, would everything on the
·5·   · · · A.· · It -- it doesn't perform any                                       ·5·             ·right side of that page be accurate, to the
·6·   ·day-to-day operations.· My understanding is --                                ·6·             ·best of your --
·7·   ·is that it's -- it's there for purposes of                                    ·7·             · · · A.· · I believe so.
·8·   ·compliance.· I can't recall the last time I had                               ·8·             · · · Q.· · Well, let's move to the left side of
·9·   ·any activity with respect to that.                                            ·9·             ·the page.· Have you heard of the entity
10·   · · · Q.· · How about the Charitable DAF Fund,                                 10·             ·Charitable DAF HoldCo Limited?
11·   ·L.P.?· I apologize if I've asked you these                                    11·             · · · A.· · Yes.
12·   ·questions.                                                                    12·             · · · Q.· · Are you the sole director of
13·   · · · A.· · It -- it's the same.· I -- I -- my                                 13·             ·Charitable DAF HoldCo Limited?
14·   ·activity is almost exclusively CLO HoldCo.                                    14·             · · · A.· · Yes.
15·   · · · Q.· · All right.· Let me just ask the                                    15·             · · · Q.· · How did you become -- how did you
16·   ·questions nevertheless.· Does Charitable DAF                                  16·             ·come to be the char- -- the sole director of
17·   ·Fund, L.P., have any employees?                                               17·             ·Charitable DAF HoldCo Limited?
18·   · · · A.· · Employees?· No.                                                    18·             · · · A.· · That was when it was established.
19·   · · · Q.· · Does it have any officers and                                      19·             · · · Q.· · And did Mr. Dondero ask you to serve
20·   ·directors?                                                                    20·             ·in that capacity?
21·   · · · A.· · No.                                                                21·             · · · A.· · Yes.
22·   · · · Q.· · Are you the sole director of                                       22·             · · · Q.· · And did Mr. Dondero ask you to serve
23·   ·Charitable DAF Fund, L.P.?                                                    23·             ·as the managing member of Charitable DA- -- DAF
24·   · · · A.· · Yes, I believe so.                                                 24·             ·GP, LLC?
25·   · · · Q.· · So if we -- if we put under                                        25·             · · · A.· · Yes.
                                                 Page 52                                                                                        Page 53
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · Q.· · And did Mr. Dondero ask you to serve                               ·2·
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                                                                                                     ·resolutions, and there's one that I have in
·3·   ·as the director of Charitable DAF, L.P. --                                    ·3·             ·mind that shows Charitable DAF HoldCo Limited
·4·   ·withdrawn.                                                                    ·4·             ·holding 99 percent of the limited partnership
·5·   · · · · · · Did Mr. Dondero ask you to serve as                                ·5·             ·interests of Charitable DAF Fund, L.P., and
·6·   ·director of Charitable DAF Fund, L.P.?                                        ·6·             ·there's another that shows it being a hundred
·7·   · · · A.· · Yes.                                                               ·7·             ·percent.· Do you -- do you know which is
·8·   · · · Q.· · To the best of your knowledge, does                                ·8·             ·accurate at least at this time?
·9·   ·Charitable DAF HoldCo Limited own 99 percent of                               ·9·             · · · A.· · There's a 1 percent/99 percent
10·   ·the limited partnership interests in Charitable                               10·             ·division, and I am -- I believe it's the 99
11·   ·DAF Fund, L.P.?                                                               11·             ·percent, but I'm -- I'm getting confused by
12·   · · · A.· · Yes.· The -- the feed -- the -- the                                12·             ·the -- by the arrangement.· I'm so used to
13·   ·feeds -- the -- the three horizontal blocks                                   13·             ·another arrangement.· I -- I believe the 99
14·   ·there that identify Highland Dallas Foundation,                               14·             ·percent is correct.
15·   ·Kansas City, Santa Barbara -- there's a fourth                                15·             · · · Q.· · Okay.· Do you have any understanding
16·   ·of -- relatively de minimus in terms of                                       16·             ·as to who owns the other 1 percent of the
17·   ·participation.· There's a fourth entity that's                                17·             ·limited partnership interests of Charitable DAF
18·   ·missing.· It's Dallas -- I forget the name.                                   18·             ·Fund, L.P.?
19·   ·That -- that -- that structure is -- is a bit                                 19·             · · · A.· · No.· This -- this is confusing to
20·   ·dated --                                                                      20·             ·me.· No.
21·   · · · Q.· · Okay.                                                              21·             · · · Q.· · Okay.· There are, at least on this
22·   · · · A.· · -- as it -- as is shown.                                           22·             ·page, three foundations that I think you've
23·   · · · Q.· · Okay.· So I will tell you and we can                               23·             ·identified.· Are those three foundations
24·   ·look the documents if you want, but attached to                               24·             ·together with the fourth that you mentioned the
25·   ·CLO HoldCo Limited's claim are a number of                                    25·             ·owners of the Charitable DAF HoldCo Limited?

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Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                               Page 16 of 40 PageID 10389



                                                 Page 54                                                                                        Page 55
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · A.· · Owners?                                                            ·2·             · · · Consent of Directors In Lieu of Meeting,
·3·   · · · Q.· · Yes.                                                               ·3·             · · · was marked for identification.)
·4·   · · · · · · MR. CLARK:· Objection, form.                                       ·4·             · · · · · · MR. MORRIS:· I apologize.· Let's go
·5·   · · · A.· · They -- they only participate in the                               ·5·             · · · to --
·6·   ·money that flows up to them.                                                  ·6·             · · · · · · MS. CANTY:· I'm sorry, John. I
·7·   · · · Q.· · And what does that mean exactly?                                   ·7·             · · · can't hear you.· Was that not the exhibit?
·8·   · · · A.· · What's that?                                                       ·8·             · · · · · · MR. MORRIS:· 4.
·9·   · · · Q.· · What does that -- what do you mean                                 ·9·             · · · · · · MS. CANTY:· Okay.
10·   ·by that?· Do the foundations fund Charitable                                  10·             · · · · · · THE REPORTER:· And Mr. Morris, you
11·   ·DAF Fund HoldCo Limited?                                                      11·             · · · are -- Mr. Morris, you are breaking up just
12·   · · · A.· · Initially.· Initially, as I                                        12·             · · · a little bit at the end of your questions.
13·   ·understand it, the money flows downward into                                  13·             ·BY MR. MORRIS:
14·   ·the Charitable DAF HoldCo Limited before it                                   14·             · · · Q.· · Okay.· Do you see the document on
15·   ·ultimately makes its way to CLO HoldCo, and                                   15·             ·the screen, sir?
16·   ·then each of those three entities, the various                                16·             · · · A.· · Yes, I do.
17·   ·foundations, obtain participation interest in                                 17·             · · · Q.· · Okay.· And so this is a unanimous
18·   ·the money that flows back to them.                                            18·             ·written consent of the directors of the
19·   · · · Q.· · And -- and is that par- -- are those                               19·             ·Highland Dallas Foundation.· That's one of the
20·   ·participation interests in Charitable -- you                                  20·             ·entities that was on the chart.
21·   ·know what, let -- let me just pull up one                                     21·             · · · · · · MR. MORRIS:· Can we scroll down to
22·   ·document and see if that helps.                                               22·             · · · the -- the bottom of the document where the
23·   · · · · · · MR. MORRIS:· Can we put up -- I                                    23·             · · · signature lines are.· Right there.
24·   · · · think it's Exhibit Number 5.                                             24·             ·BY MR. MORRIS:
25·   · · · · · · (SCOTT EXHIBIT 2, Unanimous Written                                25·             · · · Q.· · Are you a director of the Highland
                                                 Page 56                                                                                        Page 57
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·Dallas Foundation?                                                            ·2·
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                                                                                                     · · · A.· · Yes.
·3·   · · · A.· · Yes, selected by them.                                             ·3·             · · · Q.· · To the best of your knowledge, does
·4·   · · · Q.· · Selected by whom?                                                  ·4·             ·Mr. Dondero serve as the president for each of
·5·   · · · A.· · By that foundation.                                                ·5·             ·the foundations that we're talking about?
·6·   · · · Q.· · Are you -- are you a director of all                               ·6·             · · · A.· · Yes.
·7·   ·of the four foundations that feed into the                                    ·7·             · · · Q.· · To the best of your knowledge, is
·8·   ·Charitable DAF HoldCo Limited entities that --                                ·8·             ·Mr. Dondero a director of each of the
·9·   · · · A.· · No.                                                                ·9·             ·foundations that we're talking about?
10·   · · · Q.· · Which of the four foundations are                                  10·             · · · A.· · Say that again.· I'm sorry.
11·   ·you a director of?                                                            11·             · · · Q.· · Is he also a director of each of the
12·   · · · A.· · This and the Santa Barbara -- I'm                                  12·             ·foundations?
13·   ·sorry, Santa Barbara and Kansas City.                                         13·             · · · A.· · Yes.
14·   · · · Q.· · So is -- there's one that you're not                               14·             · · · Q.· · Do you know whether any of the
15·   ·a director of; is that right?                                                 15·             ·foundations has any employees?
16·   · · · A.· · Yes.                                                               16·             · · · A.· · I believe they do, but I -- I -- I
17·   · · · Q.· · And which one is that?                                             17·             ·can't say for certain.
18·   · · · A.· · The -- could you go back to the --                                 18·             · · · Q.· · Does -- withdrawn.
19·   · · · Q.· · Yeah.                                                              19·             · · · · · · Do you know if there are any
20·   · · · · · · MR. MORRIS:· Go back to the                                        20·             ·officers of any of the four foundations other
21·   · · · demonstrative.                                                           21·             ·than Mr. Dondero's service as president?
22·   · · · A.· · It's the Highland Dallas Foundation                                22·             · · · A.· · I'm sorry.· Say that one more time,
23·   ·and Santa Barbara Foundation.                                                 23·             ·please.
24·   · · · Q.· · Those are the two that you're a                                    24·             · · · Q.· · Yes.· Do you know whether any of the
25·   ·director of?                                                                  25·             ·four foundations has any officers other than

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Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                               Page 17 of 40 PageID 10390



                                                 Page 58                                                                                        Page 59
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·Mr. Dondero's service as president?                                           ·2·             ·Nonexempt Trust, right?
·3·   · · · A.· · No.                                                                ·3·             · · · A.· · Yes.
·4·   · · · Q.· · You don't know, or they do not?                                    ·4·             · · · Q.· · When did you become a trustee of the
·5·   · · · A.· · I -- I don't believe anyone else                                   ·5·             ·Get Good Nonexempt Trust?
·6·   ·has.· I -- actually, I should say I don't -- I                                ·6·             · · · A.· · Many years ago.· I -- I don't
·7·   ·don't recall.· I -- I don't know.· I don't -- I                               ·7·             ·remember.
·8·   ·don't know.                                                                   ·8·             · · · Q.· · Are there any other trustees of the
·9·   · · · Q.· · As a director of the Dallas and                                    ·9·             ·Get Good Nonexempt Trust?
10·   ·Santa Barbara foundations, are you aware of any                               10·             · · · A.· · No.
11·   ·officers serving for either of those                                          11·             · · · Q.· · Does the Get Good Nonexempt Trust
12·   ·foundations other than Mr. Dondero?                                           12·             ·have any officers, directors, or employees?
13·   · · · A.· · No.                                                                13·             · · · A.· · No.
14·   · · · Q.· · Do you know who the beneficial owner                               14·             · · · · · · MR. CLARK:· Objection, form.· Sorry.
15·   ·of the Charitable DAF HoldCo Limited entity is?                               15·             ·BY MR. MORRIS:
16·   · · · A.· · The beneficial owner?                                              16·             · · · Q.· · Withdrawn.
17·   · · · Q.· · Correct.                                                           17·             · · · · · · Do you know whether the Get Good
18·   · · · A.· · The various -- various trusts that                                 18·             ·Nonexempt Trust has any officers, directors, or
19·   ·were used to -- that were the vehicles by which                               19·             ·employees?
20·   ·the money originally was established within --                                20·             · · · A.· · It does not.
21·   ·within -- within CLO HoldCo.                                                  21·             · · · Q.· · And I apologize if I asked this, but
22·   · · · Q.· · Would that be -- would one of them                                 22·             ·are you the only trustee of the Get Good
23·   ·be the Get Good Nonexempt Trust?                                              23·             ·Nonexempt Trust?
24·   · · · A.· · Yes.                                                               24·             · · · A.· · Yes.
25·   · · · Q.· · And you're a trustee of the Get Good                               25·             · · · Q.· · Is the Dugaboy Investment Trust also
                                                 Page 60                                                                                        Page 61
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·one of the trusts that has an interest in                                     ·2·
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                                                                                                     ·besides those trusts, to the best of your
·3·   ·Charitable DAF HoldCo Limited?                                                ·3·             ·knowledge?
·4·   · · · A.· · Yes.                                                               ·4·             · · · A.· · No.
·5·   · · · Q.· · Are you a trustee of the Dugaboy                                   ·5·             · · · Q.· · Is it your understanding based on
·6·   ·Investment Trust?                                                             ·6·             ·what we've just talked about that the Get Good
·7·   · · · A.· · I am not.                                                          ·7·             ·Nonexempt Trust and the Dugaboy Investment
·8·   · · · Q.· · Do you know who is?                                                ·8·             ·Trust are the indirect beneficiaries of CLO
·9·   · · · A.· · I believe it's his sister.                                         ·9·             ·HoldCo Limited?
10·   · · · Q.· · And is that -- you're referring to                                 10·             · · · A.· · Yes.
11·   ·Mr. Dondero's sister?                                                         11·             · · · Q.· · Can you tell me who the
12·   · · · A.· · I'm sorry.· Yes.                                                   12·             ·beneficiaries are of the Get Good trust?
13·   · · · Q.· · And what's the basis for your                                      13·             · · · A.· · I mean, Jim Dondero.
14·   ·understanding that Mr. Dondero's siv- -- sister                               14·             · · · Q.· · And -- and what is that -- is that
15·   ·serves as the trustee of the Dugaboy Investment                               15·             ·based on the trust agreement -- your knowledge
16·   ·Trust?                                                                        16·             ·of the trust agreement?
17·   · · · A.· · Many years ago there was a -- there                                17·             · · · A.· · Yes.
18·   ·was a clerical error that identified me as the                                18·             · · · Q.· · Do you have an understanding of who
19·   ·trustee of the Dugaboy.· That error was present                               19·             ·the beneficiary is of the Dugaboy Investment
20·   ·for approximately two weeks or a week and a                                   20·             ·Trust?
21·   ·half before it was detected and corrected, and                                21·             · · · A.· · I don't know anything about that
22·   ·so I know from that correction that it's Nancy                                22·             ·trust.
23·   ·Dondero.                                                                      23·             · · · · · · MR. MORRIS:· Okay.· All right.
24·   · · · Q.· · Are there any other trusts that have                               24·             · · · Let's take a short break and reconvene at
25·   ·an interest in Charitable DAF HoldCo Limited                                  25·             · · · 3:30 Eastern Time.· We've been going for a

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Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                               Page 18 of 40 PageID 10391



                                                 Page 62                                                                                        Page 63
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · while.                                                                   ·2·             ·affairs of CLO HoldCo Limited at any time since
·3·   · · · · · · MR. CLARK:· Thank you.                                             ·3·             ·October?
·4·   · · · · · · MR. MORRIS:· Okay.· Thank you.                                     ·4·             · · · A.· · Yes.
·5·   · · · · · · (Whereupon, there was a recess in                                  ·5·             · · · Q.· · Anybody other than Jim Seery?
·6·   · · · the proceedings from 3:20 p.m. to                                        ·6·             · · · A.· · Yes.
·7·   · · · 3:31 p.m.)                                                               ·7·             · · · Q.· · Okay.· Let's start with Mr. Seery.
·8·   ·BY MR. MORRIS:                                                                ·8·             ·You've spoken with him before, right?
·9·   · · · Q.· · Mr. Scott, earlier I think you                                     ·9·             · · · A.· · Yes.
10·   ·testified that you interfaced with the folks at                               10·             · · · Q.· · Do you have his phone number?
11·   ·Highland in connection with your duties as the                                11·             · · · A.· · Yes.
12·   ·director of CLO HoldCo Limited, right?                                        12·             · · · Q.· · How many times have you spoken with
13·   · · · A.· · Yes.                                                               13·             ·Mr. Seery, to the best of your recollection,
14·   · · · Q.· · Are you aware of any written                                       14·             ·just generally?· It's not a test.
15·   ·agreement between Highland Capital Management                                 15·             · · · A.· · Three, maybe four times.
16·   ·and CLO HoldCo Limited?                                                       16·             · · · Q.· · Okay.· Can you identify by name
17·   · · · A.· · Yes, the various servicer                                          17·             ·anybody else at Highland that you've spoken
18·   ·agreements.                                                                   18·             ·with since -- in the last two or three months?
19·   · · · Q.· · Okay.· Are you aware that                                          19·             · · · A.· · I spoke to Jim Dondero.· I've spoken
20·   ·Mr. Dondero resigned from his position at                                     20·             ·with Mike Throckmorton.· The usual suspects, so
21·   ·Highland Capital Management sometime in                                       21·             ·to speak.· Mark Patrick, Mel- -- Melissa
22·   ·October?                                                                      22·             ·Schroth.
23·   · · · A.· · No.                                                                23·             · · · Q.· · Can you recall anybody else?
24·   · · · Q.· · Have you communicated with anybody                                 24·             · · · A.· · No.· No.· Sorry.
25·   ·at Highland Capital Management about the                                      25·             · · · Q.· · Did you -- did you -- withdrawn.
                                                 Page 64                                                                                        Page 65
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · · · · Do you recall the subject matter of                                ·2·
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                                                                                                     · · · A.· · Yes.· Or -- yes.
·3·   ·your discussions with Mr. Throckmorton?                                       ·3·             · · · Q.· · And what -- what are the nature of
·4·   · · · · · · MR. CLARK:· Objection, form.                                       ·4·             ·those conversations or the substance?
·5·   ·BY MR. MORRIS:                                                                ·5·             · · · A.· · He was -- he was one of the
·6·   · · · Q.· · Withdrawn.                                                         ·6·             ·individuals that helped to establish the
·7·   · · · · · · Do you recall your -- the subject                                  ·7·             ·hierarchy for the -- what I keep referring to
·8·   ·matter of your communications with                                            ·8·             ·as the charitable foundation.
·9·   ·Mr. Throckmorton?                                                             ·9·             · · · Q.· · And -- and do you recall why you
10·   · · · · · · MR. CLARK:· Objection, form.                                       10·             ·spoke to him in the last -- or -- withdrawn.
11·   ·BY MR. MORRIS:                                                                11·             · · · · · · Do you recall the nature of your
12·   · · · Q.· · You can answer.                                                    12·             ·communications in the last two or three months
13·   · · · A.· · I -- I regularly interface with                                    13·             ·with Mr. Patrick?
14·   ·Mr. Throckmorton regarding approvals of                                       14·             · · · A.· · I --
15·   ·expenses, and he's my sort of -- he's my point                                15·             · · · · · · MR. CLARK:· And hold on, Grant.· I'm
16·   ·person for approving wire transfers and things                                16·             · · · going to caution -- my understanding -- I
17·   ·of that nature.                                                               17·             · · · believe Mr. Patrick's an attorney, and so
18·   · · · Q.· · How about Mr. Patrick, what -- what                                18·             · · · I'm going to caution you that you shouldn't
19·   ·area of responsibility does he have with                                      19·             · · · disclose the substance of -- of those
20·   ·respect to CLO HoldCo Limited?                                                20·             · · · communications based on the attorney-client
21·   · · · A.· · He -- he doesn't, to my knowledge.                                 21·             · · · privilege.
22·   · · · Q.· · Do you recall the nature of the                                    22·             · · · · · · MR. MORRIS:· Well, I'm -- I -- I am
23·   ·substance of any communications that you've had                               23·             · · · the lawyer for the company so -- I guess
24·   ·with Mr. Patrick since -- you know, the last                                  24·             · · · there are other people on the phone and I
25·   ·two or three months?                                                          25·             · · · appreciate that, but let's see if we can --

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Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                               Page 19 of 40 PageID 10392



                                                 Page 66                                                                                        Page 67
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · I don't mean to be contentious here, so it                               ·2·             ·home -- home improvements, home construction
·3·   · · · wouldn't -- I -- I'd be part of the                                      ·3·             ·with respect to Jim Dondero's home in Colorado,
·4·   · · · privilege anyway.                                                        ·4·             ·and that's -- I -- I think that's -- that's it.
·5·   ·BY MR. MORRIS:                                                                ·5·             · · · Q.· · Okay.· Do you recall communicating
·6·   · · · Q.· · But in any event, can you tell me                                  ·6·             ·with anybody at Highland in the last three
·7·   ·generally -- I'm just looking for general                                     ·7·             ·months other than Mr. Dondero,
·8·   ·subject matter of your conversations with                                     ·8·             ·Mr. Throckmorton, Mr. Patrick, and Ms. Schroth?
·9·   ·Mr. Patrick.                                                                  ·9·             · · · A.· · I -- I spoke with Jim Seery this
10·   · · · A.· · I asked him how I would go about                                   10·             ·week.
11·   ·re- -- resigning my position.                                                 11·             · · · Q.· · Anybody else?
12·   · · · Q.· · And when did that conversation take                                12·             · · · A.· · I don't -- I don't know.
13·   ·place?                                                                        13·             · · · Q.· · Okay.
14·   · · · A.· · Within the last two weeks.                                         14·             · · · A.· · I don't think so.
15·   · · · Q.· · Have you made a decision to resign?                                15·             · · · Q.· · In your communications with
16·   · · · A.· · No.                                                                16·             ·Mr. Seery, did you two ever discuss his reasons
17·   · · · Q.· · I think you mentioned Melissa                                      17·             ·for making any trade on behalf of any CLO?
18·   ·Schroth.· Do I have that right?                                               18·             · · · A.· · No.
19·   · · · A.· · Yes.                                                               19·             · · · Q.· · In your discussions with Mr. Seery,
20·   · · · Q.· · Can you describe generally the                                     20·             ·did you ever tell him that you believed that
21·   ·communications you had with Ms. Schroth in the                                21·             ·Highland Capital Management had breached any
22·   ·last few months.                                                              22·             ·agreement in relation to any CLO?
23·   · · · A.· · They -- she has e-mailed me certain                                23·             · · · A.· · Have I had that discussion with Jim
24·   ·documents that I needed to sign.· I had a                                     24·             ·Seery?
25·   ·conversation with her about -- about some                                     25·             · · · Q.· · Yes.
                                                 Page 68                                                                                        Page 69
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · A.· · No.                                                                ·2·
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                                                                                                     ·connection with its performance as the
·3·   · · · Q.· · In your discussions with Mr. Seery,                                ·3·             ·portfolio manager of the CLOs in which CLO
·4·   ·did you ever tell him that you thought Highland                               ·4·             ·HoldCo Limited has invested?
·5·   ·Capital Management was in default under any                                   ·5·             · · · · · · MR. CLARK:· Object to form.
·6·   ·agreement in relation to the CLOs?                                            ·6·             · · · A.· · In terms of the -- are you saying --
·7·   · · · A.· · No.                                                                ·7·             ·please say that again.· I'm sorry.
·8·   · · · Q.· · I want to focus in particular on the                               ·8·             · · · Q.· · That's okay.· I ask long questions
·9·   ·shared services agreement.· In -- in your                                     ·9·             ·sometimes so forgive me, but I'm trying to
10·   ·discussions with Mr. Seery, did you ever tell                                 10·             ·get -- I'm trying to be precise so that's why
11·   ·him that you believed that Highland Capital                                   11·             ·it's difficult sometimes.· But let me try
12·   ·Management was in default or in breach of its                                 12·             ·again.
13·   ·shared services agreement with CLO HoldCo                                     13·             · · · · · · Does CLO HoldCo Limited contend that
14·   ·Limited?                                                                      14·             ·Highland Capital Management has done anything
15·   · · · A.· · No.                                                                15·             ·wrong in the performance of its duties as
16·   · · · Q.· · In your communications with                                        16·             ·portfolio manager of the CLOs in which CLO
17·   ·Mr. Seery, did you ever indicate any concern on                               17·             ·HoldCo has invested?
18·   ·the part of CLO HoldCo Limited with respect to                                18·             · · · · · · MR. CLARK:· Objection, form.
19·   ·Highland Capital's Man- -- Highland Capital                                   19·             · · · A.· · Yes.· It's -- it's outlined in our
20·   ·Management's performance under the shared                                     20·             ·objections to -- to the plan.
21·   ·services agreement?                                                           21·             · · · Q.· · Okay.· Any -- are you aware of
22·   · · · A.· · No.                                                                22·             ·anything that's not contained within CLO Holdco
23·   · · · Q.· · As you sit here today, do you have                                 23·             ·Limited's objection to the plan?
24·   ·any reason to believe that Highland Capital                                   24·             · · · · · · MR. CLARK:· Objection, form.
25·   ·Management has done anything wrong in                                         25·             · · · A.· · I don't know if this is responsive

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Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                               Page 20 of 40 PageID 10393



                                                 Page 70                                                                                        Page 71
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·to your quest -- request, but two -- two                                      ·2·             · · · A.· · Now I do.· I'm sorry.· I didn't
·3·   ·issues, I believe, also pose an in- -- a                                      ·3·             ·appreciate that.
·4·   ·problem for CLO HoldCo.· One is we are paying                                 ·4·             · · · Q.· · Okay.· So let's just take each of
·5·   ·for services.· I think I referred to the                                      ·5·             ·those pieces one at a time.· You mentioned your
·6·   ·services as being soup to nuts, but we are not                                ·6·             ·concern about services.· That's a concern that
·7·   ·getting the full services.· We haven't been for                               ·7·             ·arises under the shared services agreement,
·8·   ·some time.· So we're likely overpaying.· There                                ·8·             ·right?
·9·   ·was a Highland Select Equity issue, 11-month                                  ·9·             · · · A.· · Yes.
10·   ·payment that was delayed which I was unaware of                               10·             · · · Q.· · And you mentioned something about a
11·   ·was due.· Normally, I would have interfaced                                   11·             ·delayed payment having to do with Highland
12·   ·with someone at Highland about that, but my                                   12·             ·Select.· Do I have that generally right?
13·   ·attorney -- but my -- my attorney had to make a                               13·             · · · A.· · Correct.
14·   ·request for payment, and that payment was                                     14·             · · · Q.· · And is that a concern that you have
15·   ·ultimately made.· I -- other than that, I -- I                                15·             ·that arises under the shared services
16·   ·don't -- I don't know.· I don't believe so.                                   16·             ·agreement?
17·   · · · Q.· · I want to distinguish between the                                  17·             · · · A.· · It's not the agreement with respect
18·   ·shared services agreement between Highland                                    18·             ·to the CLOs as I understand it.
19·   ·Capital Management and CLO HoldCo Limited on                                  19·             · · · Q.· · Okay.· So then let's turn to that
20·   ·the one hand and on the other hand the                                        20·             ·second bucket.· You were aware -- you are
21·   ·management agreements pursuant to which                                       21·             ·aware, are you not, that Highland Capital
22·   ·Highland Capital Management manages certain                                   22·             ·Management has certain agreements with CLOs
23·   ·CLOs that CLO HoldCo invests in.                                              23·             ·pursuant to which it manages the assets that
24·   · · · · · · You understand the distinction that                                24·             ·are owned by the CLOs?
25·   ·I'm making?                                                                   25·             · · · A.· · I'm so sorry.· Could you please --
                                                 Page 72                                                                                        Page 73
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · Q.· · I'll try again.                                                    ·2·
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                                                                                                     · · · corporate representative.
·3·   · · · A.· · I'm just -- I'm sorry.· I was                                      ·3·             · · · · · · MR. MORRIS:· Fair enough.· But he is
·4·   ·distracted and -- and I -- I'm sorry for asking                               ·4·             · · · the only representative so...
·5·   ·you to repeat it again.· Please --                                            ·5·             · · · · · · MR. CLARK:· Fair enough.· I just
·6·   · · · Q.· · Okay.                                                              ·6·             · · · want that made -- stated for the record,
·7·   · · · A.· · Please re- --                                                      ·7·             · · · but I also object as to form.
·8·   · · · Q.· · Are you aware that CLO HoldCo                                      ·8·             · · · · · · MR. MORRIS:· Got it.
·9·   ·Limited has made investments in certain CLOs?                                 ·9·             · · · A.· · It's a third-party beneficiary under
10·   · · · A.· · Oh, yes, certainly.                                                10·             ·the agreements.
11·   · · · Q.· · And are you aware that those CLOs                                  11·             · · · Q.· · And is that because of something you
12·   ·are managed by Highland Capital Management?                                   12·             ·read in the document, or is that just your
13·   · · · A.· · Yes.· As the -- as the servicer,                                   13·             ·belief and understanding?
14·   ·yes.                                                                          14·             · · · A.· · My belief and understanding.
15·   · · · Q.· · Okay.· Have you ever seen any of the                               15·             · · · Q.· · And is that belief and understanding
16·   ·agreements pursuant to which Highland Capital                                 16·             ·based on anything other than conversations with
17·   ·Management acts as a servicer?                                                17·             ·counsel?
18·   · · · A.· · I've seen a few, yes.                                              18·             · · · A.· · In -- in -- recently it has, but I
19·   · · · Q.· · Does CLO HoldCo Limited contend that                               19·             ·don't recall from previous interactions over
20·   ·it is a party to any agreement between Highland                               20·             ·the years how we discussed that or how I came
21·   ·Capital Management and the CLOs?                                              21·             ·to -- to understand that.
22·   · · · · · · MR. CLARK:· Object to form.· And I                                 22·             · · · Q.· · Does HCLO [sic] HoldCo -- did -- in
23·   · · · just want to note for the record that                                    23·             ·your capacity as the sole director of HCLO
24·   · · · Mr. Scott is here testifying in his                                      24·             ·HoldCo Limited, are you aware of anything that
25·   · · · individual capacity, I believe, not as a                                 25·             ·Highland Capital Management has done wrong in

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Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                               Page 21 of 40 PageID 10394



                                                 Page 74                                                                                        Page 75
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·connection with the services provided under the                               ·2·             ·Highland Capital?
·3·   ·CLO management agreements?                                                    ·3·             · · · A.· · The select -- ultimately, I had to.
·4·   · · · · · · MR. CLARK:· Objection, form.                                       ·4·             · · · Q.· · I thought you testified earlier that
·5·   · · · A.· · I -- I don't -- I don't -- I                                       ·5·             ·you didn't make decisions as to investment.· Do
·6·   ·don't -- your answer's no.                                                    ·6·             ·I have that wrong?
·7·   · · · Q.· · In your capacity as the director of                                ·7·             · · · A.· · The selection.
·8·   ·CLO HoldCo Limited, are you aware of any                                      ·8·             · · · Q.· · Okay.
·9·   ·default or breach under the CLO management                                    ·9·             · · · A.· · I -- I'm --
10·   ·agreements that -- that Highland Capital                                      10·             · · · Q.· · So -- so explain to me --
11·   ·Management has caused?                                                        11·             · · · A.· · I have to approve -- I have to
12·   · · · · · · MR. CLARK:· Objection, form.                                       12·             ·approve the selection.· I'm sorry.· But the
13·   · · · A.· · We have raised the issue about                                     13·             ·people making -- I was putting that in the camp
14·   ·ongoing sales in various -- I'm not sure                                      14·             ·of the people that make the selection.
15·   ·whether they represent a technical breach,                                    15·             · · · Q.· · Okay.· Do you know if -- do you know
16·   ·though.                                                                       16·             ·if there are CLOs in the world that exist that
17·   · · · Q.· · Okay.· Are you aware of any                                        17·             ·aren't managed by Highland Capital Management?
18·   ·technical breach?                                                             18·             · · · · · · MR. CLARK:· Objection, form.
19·   · · · · · · MR. CLARK:· Objection, form.                                       19·             · · · A.· · Are there CLOs in the -- in the
20·   · · · A.· · No.                                                                20·             ·world that are not --
21·   · · · Q.· · I'm sorry.· You said, no, sir?                                     21·             · · · Q.· · Yes.
22·   · · · A.· · My answer's no.                                                    22·             · · · A.· · Yes.· It's -- it's a well-known --
23·   · · · Q.· · Thank you.· Do you know who made the                               23·             ·it's a well-known --
24·   ·decision to cause the CLO HoldCo Limited entity                               24·             · · · Q.· · In your capacity as the director of
25·   ·to invest in the CLOs that are managed by                                     25·             ·CLO HoldCo Limited, did you ever consider
                                                 Page 76                                                                                        Page 77
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·making an investment in a CLO that wasn't                                     ·2·
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                                                                                                     ·managed by Highland, correct?
·3·   ·managed by Highland?                                                          ·3·             · · · A.· · Correct.
·4·   · · · A.· · No.                                                                ·4·             · · · Q.· · Did you ever give any thought to
·5·   · · · Q.· · Is there any particular reason why                                 ·5·             ·exiting the CLO vehicles that were managed by
·6·   ·you haven't given that any consideration?                                     ·6·             ·Highland in light of its bankruptcy filing?
·7·   · · · A.· · That hasn't been my role.· That's                                  ·7·             · · · A.· · No.
·8·   ·not my expertise.· That's been something                                      ·8·             · · · Q.· · Have you ever discussed with
·9·   ·Highland has done and, quite frankly, over the                                ·9·             ·Mr. Seery anything having to do with the
10·   ·years brilliantly so, no.                                                     10·             ·management -- withdrawn.
11·   · · · Q.· · You're aware that HCM, L.P., has                                   11·             · · · · · · Have you ever discussed with
12·   ·filed for bankruptcy, right?                                                  12·             ·Mr. Seery any aspect of the debtor's management
13·   · · · A.· · Yes.                                                               13·             ·of the CLOs in which CLO HoldCo Limited is
14·   · · · Q.· · When did you learn that Highland had                               14·             ·invested?
15·   ·filed for bankruptcy?                                                         15·             · · · A.· · No.
16·   · · · A.· · After the fact sometime in late --                                 16·             · · · Q.· · You mentioned earlier a request to
17·   ·late 2019.                                                                    17·             ·stop trading.· Do I have that right?
18·   · · · Q.· · Since the bankruptcy filing, have                                  18·             · · · A.· · Yes.
19·   ·you made any attempt to sell CLO HoldCo                                       19·             · · · Q.· · Okay.· And are you aware that a
20·   ·Limited's position in any of the CLOs that are                                20·             ·letter was written purportedly on behalf of CLO
21·   ·managed by Highland?                                                          21·             ·HoldCo Limited in which a request to stop
22·   · · · A.· · No.                                                                22·             ·trading was made?
23·   · · · Q.· · So notwithstanding the bankruptcy                                  23·             · · · A.· · As a cos- -- yeah.· Yes.
24·   ·filing, you as the director haven't made any                                  24·             · · · Q.· · Okay.· Have you ever seen that
25·   ·attempt to transfer out of the CLOs that are                                  25·             ·letter before?

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Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                            Page 22 of 40 PageID 10395



                                                 Page 78                                                                                     Page 79
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                       ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · A.· · Yes.                                                            ·2·             ·this I did.
·3·   · · · · · · MR. MORRIS:· Can we put up on the                               ·3·             · · · Q.· · Okay.· Did you provide any comments
·4·   · · · screen -- I think it's now Exhibit 6.· It's                           ·4·             ·to it?
·5·   · · · Exhibit DDDD.                                                         ·5·             · · · A.· · I did.
·6·   · · · · · · (SCOTT EXHIBIT 3, Letter to James A.                            ·6·             · · · · · · MR. CLARK:· Well, hold on.· Grant,
·7·   · · · Wright, III, et al., from Gregory Demo,                               ·7·             · · · let me caution you.· To the extent you
·8·   · · · December 24, 2020, with Exhibit A                                     ·8·             · · · provided comments to counsel, we're going
·9·   · · · Attachment, was marked for identification.)                           ·9·             · · · to assert the attorney-client privilege on
10·   · · · · · · MR. MORRIS:· Can we scroll down to,                             10·             · · · those comments.
11·   · · · I guess, what's Exhibit A.· Ri- -- right                              11·             · · · · · · MR. MORRIS:· It's just a yes-or-no
12·   · · · there.                                                                12·             · · · question.· I'm not looking for the
13·   ·BY MR. MORRIS:                                                             13·             · · · specifics.
14·   · · · Q.· · You see this is a letter Dece- --                               14·             · · · · · · MR. CLARK:· Thank you.
15·   ·dated December 22nd?                                                       15·             · · · A.· · Yes.
16·   · · · A.· · Yes.                                                            16·             · · · Q.· · Are you aware that earlier letters
17·   · · · Q.· · In the first paragraph there there's                            17·             ·were -- withdrawn.
18·   ·a reference to the entities on whose behalf                                18·             · · · · · · Are you aware that prior to December
19·   ·this letter is being sent.                                                 19·             ·22nd, the entities other than CLO HoldCo
20·   · · · · · · Do you see that?                                                20·             ·Limited that are listed in this pers- -- first
21·   · · · A.· · Yes.                                                            21·             ·paragraph had sent a letter making the same
22·   · · · Q.· · Okay.· So this letter was sent on                               22·             ·request?
23·   ·December 22nd.· Did you see a copy of it before                            23·             · · · A.· · With respect to a letter, no.· No,
24·   ·it was sent?                                                               24·             ·I -- I did not.
25·   · · · A.· · A -- a draft -- an earlier draft of                             25·             · · · Q.· · Are you aware as you sit here now
                                                 Page 80                                                                                     Page 81
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                       ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·that the entities other than CLO HoldCo Limited                            ·2·
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                                                                                                  · · · A.· · The subject of this letter on the
·3·   ·that are listed in the first paragraph made a                              ·3·             ·22nd which yielded the original letter you
·4·   ·motion in the court asking the court for an                                ·4·             ·briefly showed me on the 24th as well as an
·5·   ·order that would have prevented Highland from                              ·5·             ·additional letter on the 28th identified two
·6·   ·making any transactions for a limited period of                            ·6·             ·points as I understand it.· The first point is
·7·   ·time?                                                                      ·7·             ·what I believe is the somewhat innocuous
·8·   · · · A.· · Yes.                                                            ·8·             ·request to halt sales, not a demand in any way.
·9·   · · · Q.· · Did you know that motion was being                              ·9·             ·And the second more substantive issue has to do
10·   ·made prior to the time that it was made?                                   10·             ·with steps to remove Highland or a subsequent
11·   · · · A.· · I'm not sure.                                                   11·             ·derived entity from Highland from the various
12·   · · · Q.· · Did you ever think about whether CLO                            12·             ·services agreements that you had previously --
13·   ·HoldCo Limited should join that particular                                 13·             ·we had previously discussed.· Neither of those
14·   ·motion?                                                                    14·             ·issues met the require- -- neither of those
15·   · · · A.· · I believe we were -- my attorney was                            15·             ·issues led us to believe that a motion such as
16·   ·aware of it.· I don't recall our discussion                                16·             ·what you've just mentioned was -- was right --
17·   ·about it.· We were aware -- when I say we, I                               17·             · · · Q.· · Okay.
18·   ·mean collectively -- and did not join it.                                  18·             · · · A.· · -- because no -- no decision has
19·   · · · Q.· · Okay.· Can you tell me why you did                              19·             ·been made on that.
20·   ·not join it.                                                               20·             · · · Q.· · Okay.
21·   · · · · · · MR. CLARK:· And, again, Grant, to --                            21·             · · · · · · MR. MORRIS:· So I want to go back to
22·   · · · to the extent it's based on communications                            22·             · · · my question and move to strike as
23·   · · · with counsel, you're free to say that                                 23·             · · · nonresponsive, and I'll just ask my
24·   · · · but -- but not to disclose any substance of                           24·             · · · question again.
25·   · · · communications with counsel.                                          25·             ·BY MR. MORRIS:

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                                                                                                                                  Appx. 01814
Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                               Page 23 of 40 PageID 10396



                                                 Page 82                                                                                        Page 83
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · Q.· · Why did CLO HoldCo Limited decide                                  ·2·             ·initially dated the 24th, I have a general
·3·   ·not to participate in the earlier motion that                                 ·3·             ·understanding of what they decided.
·4·   ·was brought by the other entities that are                                    ·4·             · · · Q.· · Did you -- did you ever review the
·5·   ·identified in Paragraph 1 that asked the court                                ·5·             ·transcript of the hearing where the other
·6·   ·to stop Highland from engaging in trades?                                     ·6·             ·parties asked the court to stop Highland from
·7·   · · · A.· · John, I'm so sorry.· There was a                                   ·7·             ·engaging in any further trades on the CLOs?
·8·   ·feedback loop that came up when you started to                                ·8·             · · · A.· · I did not.
·9·   ·re- -- re- -- recite -- restate your question.                                ·9·             · · · Q.· · Is there anything different about
10·   ·I'm sorry.                                                                    10·             ·the request in this letter, to the best of your
11·   · · · Q.· · That's okay.· Why did CLO HoldCo                                   11·             ·knowledge, from the request that was made of
12·   ·Limited decide not to join in the earlier                                     12·             ·the court just six days earlier?
13·   ·motion where the entities listed in Paragraph 1                               13·             · · · · · · MR. CLARK:· Objection, form.
14·   ·asked the court to order Highland not to make                                 14·             · · · A.· · Yes.· There's a -- in -- in my -- my
15·   ·any further trades?· Why did they not join that                               15·             ·view there's a substantial difference between
16·   ·motion?                                                                       16·             ·filing an action converting a request into
17·   · · · A.· · The -- the issue didn't rise to                                    17·             ·essentially a demand versus a gentle request
18·   ·the -- I don't believe we had formulated a                                    18·             ·with multiple caveats, that that request is not
19·   ·legal basis sufficient to justify such steps.                                 19·             ·a demand.
20·   ·We hadn't laid the foundation necessary to --                                 20·             · · · Q.· · Okay.· Let me ask you this:· Are you
21·   ·to do that.                                                                   21·             ·aware -- what -- when did you first learn that
22·   · · · Q.· · Are you aware of what the court                                    22·             ·Highland was making trades in its capacity as
23·   ·decided?                                                                      23·             ·the servicer of the CLOs?· When -- when did you
24·   · · · A.· · By virtue of the original letter you                               24·             ·first learn that Highland was doing that?· Ten
25·   ·sent me dated the -- or show -- showed                                        25·             ·years ago, right?· I mean --
                                                 Page 84                                                                                        Page 85
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · A.· · Oh.· Oh.· Oh, I'm -- yeah.· Yeah.                                  ·2·
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                                                                                                     ·comfortable with them making those decisions,
·3·   ·Oh, yes.· I'm sorry.· Of course.                                              ·3·             ·but...
·4·   · · · Q.· · Right?· I mean, Highland has been                                  ·4·             · · · Q.· · I thought you testified earlier that
·5·   ·making trades on behalf of CLOs for years,                                    ·5·             ·you weren't aware that Mr. Dondero left
·6·   ·right?                                                                        ·6·             ·Highland.· Am I mistaken in my recollection?
·7·   · · · A.· · Yes.                                                               ·7·             · · · A.· · I think you said in October, and
·8·   · · · Q.· · And Highland was making trades on                                  ·8·             ·I -- as I -- there's some con- -- I have
·9·   ·behalf of CLOs throughout 2020, to the best of                                ·9·             ·confusion about when he left versus when he was
10·   ·your knowledge, right?                                                        10·             ·still there but other -- but he was not making
11·   · · · A.· · Yes.                                                               11·             ·those trades.
12·   · · · Q.· · And you know when Jim Dondero was                                  12·             · · · Q.· · Okay.· Fair enough.· The bankruptcy
13·   ·still with Highland, he was making trades on                                  13·             ·has nothing to do with your desire to stop
14·   ·behalf of CLO -- on behalf of the CLOs, right?                                14·             ·trading, right, because Highland traded for a
15·   · · · A.· · Yes.                                                               15·             ·year after the bankruptcy and never took any
16·   · · · Q.· · And you never objected when Jim                                    16·             ·action to try to stop Highland from trading on
17·   ·Dondero was doing it; is that right?                                          17·             ·behalf of the CLOs, fair?
18·   · · · A.· · That is correct.                                                   18·             · · · A.· · The -- Highland as of right now
19·   · · · Q.· · Okay.· So what changed that caused                                 19·             ·isn't the same entity it was -- well, the
20·   ·you in your capacity as the director of CLO                                   20·             ·decision-making team -- the -- the financial
21·   ·HoldCo to request a full stoppage of trading?                                 21·             ·decision-making team for CLO Holdco's is no
22·   · · · A.· · It was my understanding that because                               22·             ·longer the team I have worked with, and upon
23·   ·of the bankruptcy and the removal of Jim                                      23·             ·discussion with counsel, we agreed -- I agreed
24·   ·Dondero that the replacement decision-makers                                  24·             ·to this letter, which I did, to just maintain
25·   ·did not have the expertise where I felt                                       25·             ·the status quo.

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Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                               Page 24 of 40 PageID 10397



                                                 Page 86                                                                                        Page 87
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · Q.· · How did you form your opinion that                                 ·2·             ·previously been doing that was no longer doing
·3·   ·the debtor doesn't have the expertise to                                      ·3·             ·it.
·4·   ·execute trades on behalf of the CLOs today?                                   ·4·             · · · Q.· · And what gave you that impression?
·5·   ·What's the basis for that belief?                                             ·5·             · · · A.· · Was communications I had with my
·6·   · · · A.· · I -- as I understood it, the -- the                                ·6·             ·attorney.
·7·   ·people historically making that decision were                                 ·7·             · · · Q.· · Okay.· Is there any source for your
·8·   ·no longer making that decision.                                               ·8·             ·information that led you to conclude that the
·9·   · · · Q.· · Who besides Mr. Dondero --                                         ·9·             ·team was no longer there that was able to
10·   ·withdrawn.                                                                    10·             ·engage in the trades on behalf of the CLOs
11·   · · · · · · Who are you referring to?                                          11·             ·other than your attorneys?
12·   · · · A.· · Well, Mr. Dondero is one.· I don't                                 12·             · · · A.· · Well, this -- this letter -- I -- I
13·   ·know the names, but I -- I understood it to                                   13·             ·think the answer is no.
14·   ·mean that the group previously responsible, for                               14·             · · · Q.· · Thank you.· Do you know if Jim -- do
15·   ·exam- -- for example, Hunter Covitz, including                                15·             ·you have an opinion or a view as to whether Jim
16·   ·Hun- -- him, were no longer involved in the                                   16·             ·Seery is qualified to make trades?
17·   ·decision-making process, but...                                               17·             · · · A.· · This --
18·   · · · Q.· · How did you -- how -- how -- who                                   18·             · · · · · · MR. CLARK:· Objection, form.
19·   ·gave you the information that led you to                                      19·             · · · A.· · I don't know -- I spoke to Jim Seery
20·   ·conclude that Hunter Covitz was no longer                                     20·             ·earlier this week.· You -- you asked me whether
21·   ·involved in the decision-making process?                                      21·             ·I had his number.· I said I did.· That's only
22·   · · · A.· · Specifically him and that name being                               22·             ·because he called me.· My phone rang with his
23·   ·mentioned, I -- I -- I wasn't informed of his                                 23·             ·number.· It was a number I did not recognize,
24·   ·speci- -- him -- him being removed.· I was                                    24·             ·it was not in my contacts, but he left me a
25·   ·under the impression that the team that had                                   25·             ·voice mail so I called him back.· Then I
                                                 Page 88                                                                                        Page 89
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·updated my contacts to -- to add his name so                                  ·2·
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                                                                                                     ·that the debtor made on behalf of any of the
·3·   ·now I have his name.· And during that                                         ·3·             ·CLOs since the time that you understand
·4·   ·conversation he informed me that he did have                                  ·4·             ·Mr. Dondero left Highland that you disagree
·5·   ·that expertise --                                                             ·5·             ·with?
·6·   · · · Q.· · And --                                                             ·6·             · · · A.· · No.
·7·   · · · A.· · -- without me making any inquiry.                                  ·7·             · · · Q.· · Did you have any discussion with any
·8·   ·He volunteered that.                                                          ·8·             ·representative of any of the entities listed on
·9·   · · · Q.· · But you hadn't made any inquiry                                    ·9·             ·this document where they told you they believe
10·   ·prior to the time that you authorized the                                     10·             ·Jim Seery didn't have the expertise to engage
11·   ·sending of this letter; is that fair?                                         11·             ·in transactions on behalf of the whole -- of
12·   · · · A.· · That's correct.                                                    12·             ·the CLOs?
13·   · · · Q.· · Do you know whether Mr. Seery, in                                  13·             · · · A.· · You -- your question -- I'm -- I'm
14·   ·fact, engaged in transactions on behalf of the                                14·             ·sorry.· I'm trying to be -- I'm trying to be a
15·   ·debtor since he was appointed back in January?                                15·             ·hundred perc- -- I'm trying to be accurate
16·   · · · A.· · I do not.                                                          16·             ·here.
17·   · · · Q.· · Did you ask that question prior to                                 17·             · · · Q.· · Let me interrupt you and just say,
18·   ·the time you authorized the sending of this                                   18·             ·I'm very grateful for your testimony.· I know
19·   ·letter?                                                                       19·             ·this is not easy, and I do believe that you're
20·   · · · A.· · I did not.                                                         20·             ·earnestly and honestly trying to answer the
21·   · · · Q.· · Can you identify a single                                          21·             ·questions the best you can.· So no apologies
22·   ·transaction that Jim Seery has ever made that                                 22·             ·necessary anymore.· If you need me to repeat
23·   ·you disagree with?                                                            23·             ·the question or rephrase it, just say that,
24·   · · · A.· · No.                                                                24·             ·okay?
25·   · · · Q.· · Can you identify any transaction                                   25·             · · · A.· · Please -- yes.

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Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                               Page 25 of 40 PageID 10398



                                                 Page 90                                                                                        Page 91
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · Q.· · Okay.                                                              ·2·             ·substance of this particular letter?
·3·   · · · A.· · Please -- please repeat that.                                      ·3·             · · · A.· · Jim Dondero described why he
·4·   · · · Q.· · Did you ever communicate with any                                  ·4·             ·believed sales being made on an ongoing basis
·5·   ·employee, officer, director, representative of                                ·5·             ·after a request was made to stop was im- --
·6·   ·any of the entities that are on this page                                     ·6·             ·improper.
·7·   ·concerning the debtor's ability to service the                                ·7·             · · · Q.· · Do you -- do you rely on what
·8·   ·CLOs?                                                                         ·8·             ·Mr. Dondero said to you during that phone call
·9·   · · · A.· · I believe so.                                                      ·9·             ·on December 21st in -- in deciding to join in
10·   · · · Q.· · And can you identify the person or                                 10·             ·this particular letter?
11·   ·persons?                                                                      11·             · · · A.· · No.
12·   · · · A.· · I think it's Jim Dondero.                                          12·             · · · Q.· · Did you only then rely on the
13·   · · · Q.· · Anybody else other than Mr. Dondero?                               13·             ·information you obtained from counsel?
14·   · · · A.· · No.                                                                14·             · · · A.· · Yes.· I -- I -- I -- I considered
15·   · · · Q.· · When did you have that conversation                                15·             ·this letter to be nearly the most gentle
16·   ·or those conversations with Mr. Dondero?                                      16·             ·request imaginable amongst lawyers to maintain
17·   · · · A.· · This letter is dated the 22nd --                                   17·             ·the status quo.
18·   · · · Q.· · Correct.                                                           18·             · · · Q.· · And the request that's made in this
19·   · · · A.· · -- right?                                                          19·             ·letter is perfectly consistent with what
20·   · · · Q.· · Yes.                                                               20·             ·Mr. Dondero told you on the 21st of December,
21·   · · · A.· · I believe that's the Tuesday before                                21·             ·correct?
22·   ·Christmas, and this would have been on the                                    22·             · · · A.· · I don't -- no.
23·   ·21st, the Monday.                                                             23·             · · · Q.· · How --
24·   · · · Q.· · What do you recall about your                                      24·             · · · · · · MR. MORRIS:· Can we go to the end of
25·   ·conversation on the 21st regarding the                                        25·             · · · this letter, please.· All right.· Right
                                                 Page 92                                                                                        Page 93
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · there.                                                                   ·2·
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                                                                                                     · · · A.· · No.· And I didn't -- I didn't have a
·3·   ·BY MR. MORRIS:                                                                ·3·             ·discussion with him.· I -- I merely listened to
·4·   · · · Q.· · Do you see the request that's in the                               ·4·             ·him.· There was no -- I -- I had no input to
·5·   ·last sentence?                                                                ·5·             ·the conversation.
·6·   · · · A.· · Yes.                                                               ·6·             · · · Q.· · Okay.· I -- I did -- I didn't --
·7·   · · · Q.· · Is that the same thing that                                        ·7·             ·I -- I appreciate that.· So he called you; is
·8·   ·Mr. Dondero told you should happen, that --                                   ·8·             ·that right?
·9·   ·that there should be no further CLO                                           ·9·             · · · A.· · We -- we called in.
10·   ·transactions at least until the issues raised                                 10·             · · · Q.· · Oh, was it --
11·   ·and addressed by the debtor's plan were                                       11·             · · · A.· · I --
12·   ·resolved substantively?                                                       12·             · · · Q.· · Was it --
13·   · · · A.· · Yes.                                                               13·             · · · A.· · I don't know --
14·   · · · Q.· · Is there anything that he said                                     14·             · · · Q.· · Was it --
15·   ·that's inconsistent with the request that's                                   15·             · · · A.· · I don't know the sequence of the
16·   ·made here?                                                                    16·             ·calls.· I'm sorry.
17·   · · · · · · MR. CLARK:· Objection, form.                                       17·             · · · Q.· · Was there anybody on the call other
18·   · · · A.· · This -- and can you -- can you show                                18·             ·than you and Mr. Dondero, the call that you're
19·   ·me earlier parts?                                                             19·             ·describing on December 21st?
20·   · · · Q.· · Of course.· You know what, I'll                                    20·             · · · A.· · Yes, my attorney and an attorney --
21·   ·withdraw the question.                                                        21·             ·I believe the attorney that signed this letter.
22·   · · · · · · And let me see if I can do it this                                 22·             · · · Q.· · Okay.· And I just want to focus on
23·   ·way:· In your discussion with Mr. Dondero, did                                23·             ·what Mr. Dondero said.· Did he -- did he say
24·   ·he indicate that he had seen a draft of this                                  24·             ·during the call that Highland should not be
25·   ·letter?                                                                       25·             ·engaging in any further CLO transactions?

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Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                               Page 26 of 40 PageID 10399



                                                 Page 94                                                                                        Page 95
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   · · · A.· · He took a more -- if I can                                         ·2·             ·was -- the Advisers Act was mentioned --
·3·   ·characterize his mental -- I looked at the                                    ·3·             · · · Q.· · Did you have --
·4·   ·issue of maintaining the status quo since there                               ·4·             · · · A.· · -- but I don't -- I don't know what
·5·   ·was somebody that was complaining about it,                                   ·5·             ·that is.· You know, I don't know what that is.
·6·   ·that that -- because it -- it isn't assets of                                 ·6·             · · · Q.· · And you -- and -- and you never --
·7·   ·Highland, it doesn't adversely affect Highland.                               ·7·             ·it never occurred to you to pick up the phone
·8·   ·If -- if stopping the sales -- you know, my --                                ·8·             ·and -- and to speak with Mr. Seery to see why
·9·   ·my thought was -- is if stopping the sales                                    ·9·             ·it was he thought he should be engaging in
10·   ·reduces the likelihood of litigation                                          10·             ·transactions?
11·   ·disputes -- you already saw that there was the                                11·             · · · A.· · No.· And -- but I -- my lack of
12·   ·one from middle of December.· I -- I thought                                  12·             ·volunteering a phone call to Jim Seery isn't --
13·   ·that would be the more appropriate way to go.                                 13·             ·it's -- it's because of -- I -- I thought any
14·   ·I didn't think there'd be any harm.                                           14·             ·phone call by me to Jim Seery would be
15·   · · · Q.· · And was that your --                                               15·             ·inappropriate because he's represented by
16·   · · · A.· · I think -- I think Jim Dondero had a                               16·             ·counsel.· I mean, we were working on claims
17·   ·more legalistic view of its impro- -- im- --                                  17·             ·against him --
18·   ·improper nature.                                                              18·             · · · Q.· · Okay.
19·   · · · Q.· · And did he share that view with you?                               19·             · · · A.· · -- right, so...
20·   · · · A.· · On Monday, yes.                                                    20·             · · · Q.· · Did you -- did you -- did you think
21·   · · · Q.· · Can you describe for me your                                       21·             ·to instruct your lawyers to reach out to
22·   ·recollection of what he said about the                                        22·             ·Mr. Seery to actually speak to him instead of
23·   ·legalistic view?                                                              23·             ·just sending a letter like this and to -- and
24·   · · · A.· · Just the mention of -- all I recall                                24·             ·to ask -- and to maybe inquire as to why he
25·   ·is in terms of -- the law associated with it                                  25·             ·thought it was appropriate to engage in
                                                 Page 96                                                                                        Page 97
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·transactions before they made a request six                                   ·2·
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                                                                                                     ·BY MR. MORRIS:
·3·   ·days after the court threw out their suit as                                  ·3·             · · · Q.· · And do you recall that the next day
·4·   ·frivolous?· I'll withdraw that.· That's too                                   ·4·             ·CLO HoldCo Limited joined in another letter to
·5·   ·much.                                                                         ·5·             ·the debtors?· Do you have that recollection?
·6·   · · · · · · A few days later did you authorize                                 ·6·             · · · A.· · Yes.· Not -- not be- -- yes, I do,
·7·   ·the sending of another letter to the debtor in                                ·7·             ·but -- yes, I do.
·8·   ·which you suggested that the -- the entities on                               ·8·             · · · Q.· · Did you see this letter before it
·9·   ·behoove -- on -- on whose behalf the letter was                               ·9·             ·was sent?
10·   ·sent might take steps to terminate the CLO                                    10·             · · · A.· · I don't believe so.
11·   ·management agreements?                                                        11·             · · · Q.· · Did you authorize the sending of
12·   · · · A.· · I did not see -- so there is a --                                  12·             ·this letter?
13·   ·there is a December 28th letter.                                              13·             · · · A.· · I gave -- I relied on my attorney to
14·   · · · · · · MR. MORRIS:· Let's just go to the                                  14·             ·guide me through this process.
15·   · · · next letter, and -- and let's just call                                  15·             · · · Q.· · I appreciate that.
16·   · · · that up.                                                                 16·             · · · A.· · I let him make that call on this
17·   ·BY MR. MORRIS:                                                                17·             ·letter, which is -- copies most of the prior
18·   · · · Q.· · I think it's -- I think it's                                       18·             ·letter and then adds another issue.
19·   ·actually dated December 23rd.· It was the next                                19·             · · · Q.· · Okay.· Do you have an understanding
20·   ·day.                                                                          20·             ·of what that issue is?
21·   · · · A.· · Yes.                                                               21·             · · · A.· · Yes.
22·   · · · · · · (SCOTT EXHIBIT 4, Letter to James A.                               22·             · · · Q.· · And what is your understanding of
23·   · · · Wright, III, et al., from Gregory Demo,                                  23·             ·what that additional issue is?
24·   · · · December 24, 2020, with Exhibit A                                        24·             · · · A.· · Somewhere in this letter of the 23rd
25·   · · · Attachment, was marked for identification.)                              25·             ·there's an -- there's an -- an inclusion of

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Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                               Page 27 of 40 PageID 10400



                                                 Page 98                                                                                        Page 99
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·a -- a statement of an -- a future intent.                                    ·2·             · · · A.· · I don't -- I don't want to be
·3·   · · · Q.· · A future intent to do what?                                        ·3·             ·difficult, but I'm -- I'm confused yet again
·4·   · · · A.· · To remove Highland as the servicer                                 ·4·             ·with your question.· But I have not -- there --
·5·   ·of the agreements you talked to me about                                      ·5·             ·there are a number of cr- -- a number of issues
·6·   ·previously.                                                                   ·6·             ·that with my nonfinance background would
·7·   · · · Q.· · Can you tell me whether there's a                                  ·7·             ·suggest to me that they -- they may be bases
·8·   ·factual basis on which CLO HoldCo Limited                                     ·8·             ·for -- for cause, to -- to assert a cause.· And
·9·   ·believes that the debtor should be removed as                                 ·9·             ·I've been conferring with my attorney about
10·   ·the servicer of the portfolio manager of the                                  10·             ·that, but it's very preliminary and no -- no
11·   ·CLOs?                                                                         11·             ·decision has been made.· I -- no decision is
12·   · · · A.· · Yes.· There are -- there are                                       12·             ·being made.
13·   ·multiple bases to consider subject to all the                                 13·             · · · Q.· · So what -- what are the factors that
14·   ·other conditional language in the request of                                  14·             ·are causing you to consider possibly seeking to
15·   ·these letters to consider that going forward                                  15·             ·begin the process of terminating the CLO
16·   ·but no decision.· That intent is an intent to                                 16·             ·management agreements?
17·   ·evaluate, not an intent to take any action. I                                 17·             · · · A.· · Well, I guess I would break them
18·   ·haven't authorized any action.· I don't feel                                  18·             ·down into maybe two categories, maybe more.
19·   ·comfortable with my knowledge base at this                                    19·             ·The one that resonates most with me -- I don't
20·   ·time, but it's something being explored.                                      20·             ·know -- maybe because even though I'm a patent
21·   · · · Q.· · So knowing everything that you know                                21·             ·attorney, I guess at one point I was an
22·   ·as of today, you have not yet formed a decision                               22·             ·attorney.· But the thing that resonates most
23·   ·as to whether CLO HoldCo Limited will take any                                23·             ·with me --
24·   ·steps to terminate Highland's portfolio                                       24·             · · · Q.· · You are an attorney.
25·   ·management agreements, correct?                                               25·             · · · A.· · -- at the moment -- well, now you
                                                Page 100                                                                                       Page 101
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·know why I'm a patent attorney and not one of                                 ·2·
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                                                                                                     ·I'm sorry.
·3·   ·you guys.· But the thing that resonates with me                               ·3·             · · · Q.· · There's an agreement between the
·4·   ·the most from a legal substantive, black letter                               ·4·             ·issuers and Highland pursuant to which Highland
·5·   ·law sort of issue is the plan for                                             ·5·             ·manages the CLO assets, right?
·6·   ·reorganization, which we've objected to.· I've                                ·6·             · · · A.· · With res- -- yes.
·7·   ·re- -- I've reviewed the objection, and that                                  ·7·             · · · Q.· · Okay.· And do you understand what's
·8·   ·sets forth our -- that sets forth my position,                                ·8·             ·going to happen to those management contracts
·9·   ·and I consider that to be quite material.· The                                ·9·             ·in connection with the plan of reorganization?
10·   ·others are issues of practical effects of                                     10·             · · · A.· · Partially.
11·   ·what's happened thus far with the bankruptcy,                                 11·             · · · Q.· · What's your partial understanding?
12·   ·the termination of the experts with a long                                    12·             · · · A.· · Well, I -- I wouldn't want to
13·   ·track record of success, the soon-to-be                                       13·             ·characterize it as a partial understanding. I
14·   ·termination of all employees, the cancellation                                14·             ·mean, with respect to part of the agreement.
15·   ·of various representation agreements, things of                               15·             · · · Q.· · Okay.
16·   ·that nature looked at from an additive sort of                                16·             · · · A.· · Okay.· Our plan objection lays out
17·   ·perspective.                                                                  17·             ·our basis for objecting to steps that Highland
18·   · · · Q.· · You know that -- can we refer to the                               18·             ·is actively taking to preclude us from the full
19·   ·counterparties under the CLO management                                       19·             ·rights that we have as third-party
20·   ·agreements as the issuers?· Are you familiar                                  20·             ·beneficiaries under that agreement, and they're
21·   ·with that term?                                                               21·             ·not de minimus.· They're quite material.· They
22·   · · · A.· · I -- I am familiar with the term                                   22·             ·relate to cause issues and no-cause issues, for
23·   ·issuers, yes.                                                                 23·             ·example, as out- -- as outlined in our --
24·   · · · Q.· · Okay.· And do you understand --                                    24·             ·our -- our objections.
25·   · · · A.· · There's an agreement between the --                                25·             · · · Q.· · Okay.· Did you ever make any attempt

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Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                               Page 28 of 40 PageID 10401



                                                Page 102                                                                                       Page 103
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·to speak with any issuer concerning Highland's                                ·2·             ·views as to what they think is going to happen
·3·   ·performance under the CLO management                                          ·3·             ·in the future?
·4·   ·agreements?                                                                   ·4·             · · · A.· · No.
·5·   · · · A.· · No.                                                                ·5·             · · · Q.· · They're the -- they're the actual
·6·   · · · Q.· · Why not?                                                           ·6·             ·direct beneficiaries under the CLO management
·7·   · · · A.· · I -- I don't have any facts --                                     ·7·             ·agreements, to the best of your understanding,
·8·   ·understand I -- I get all of the reports                                      ·8·             ·right?
·9·   ·periodically from Highland -- from Highland.                                  ·9·             · · · A.· · Yes.· Their rights may not be
10·   ·I -- I don't have a basis that I'm aware of to                                10·             ·impacted; it's CLO Holdco's rights that are
11·   ·complain about performance issues.· This is a                                 11·             ·going to be adversely impacted.· So it's -- I
12·   ·legal issue that I'm talking about.                                           12·             ·don't know that our view is in alignment with
13·   · · · Q.· · So you have no basis to suggest that                               13·             ·their view.· But to answer your question, no,
14·   ·Highland hasn't performed under the CLO                                       14·             ·we did not contact them.
15·   ·management agreements, correct?                                               15·             · · · Q.· · Do you have any knowledge or
16·   · · · A.· · Well, Highland as of right now,                                    16·             ·information as to any assertion by the issuers
17·   ·the -- the issue really is as -- as to what's                                 17·             ·that Highland is in breach of any of the CLO
18·   ·next, not -- not -- I -- I don't -- I don't                                   18·             ·management agreements?
19·   ·believe I have facts that support a com- --                                   19·             · · · A.· · No.
20·   ·a -- an issue right now.· It's -- it's --                                     20·             · · · Q.· · Do you have any knowledge or
21·   ·it's -- it's going forward that is the problem.                               21·             ·information as to whether or not any of the
22·   · · · Q.· · I --                                                               22·             ·issuers believe that Highland is in default
23·   · · · A.· · That's -- you know, that's --                                      23·             ·under the CLO management agreements?
24·   · · · Q.· · Have you given any thought to                                      24·             · · · A.· · No, I don't have any of those facts.
25·   ·speaking with the issuers to try to get their                                 25·             · · · Q.· · Are you aware that the issuers are
                                                Page 104                                                                                       Page 105
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                          ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
·2·   ·negotiating with Highland to permit Highland to                               ·2·
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                                                                                                     · · · Q.· · Okay.· Are you aware of a third
·3·   ·assume the CLO management agreements and to                                   ·3·             ·letter that was sent to Highland on behalf of
·4·   ·continue operating under them?                                                ·4·             ·CLO HoldCo and the other entities that are
·5·   · · · A.· · I believe so --                                                    ·5·             ·listed in this document?
·6·   · · · Q.· · Is that --                                                         ·6·             · · · A.· · The December 28th letter, is that
·7·   · · · A.· · -- but they're --                                                  ·7·             ·what you mean?
·8·   · · · Q.· · Go ahead.· I'm sorry.                                              ·8·             · · · Q.· · It's actually December 31st, if I
·9·   · · · A.· · As I understand it, Highland                                       ·9·             ·can refresh your recollection.
10·   ·wants -- Highland or its subsidiary -- or                                     10·             · · · · · · MR. MORRIS:· Can we put up Exhibit
11·   ·its -- its -- its postbankruptcy relative --                                  11·             · · · F?
12·   ·post- -- excuse me, that Highland                                             12·             · · · · · · (SCOTT EXHIBIT 5, Letter to Jeffrey
13·   ·postbankruptcy -- or postplan confirmation                                    13·             · · · N. Pomerantz from R. Charles Miller,
14·   ·wants to move forward, substitute itself for                                  14·             · · · December 31, 2020, was marked for
15·   ·the prior issuer -- no, sorry, substitute                                     15·             · · · identification.)
16·   ·itself for the prior servicer under those                                     16·             ·BY MR. MORRIS:
17·   ·agreements to assume those agreements but in                                  17·             · · · Q.· · You remember that there was a letter
18·   ·the process of assuming those agreements,                                     18·             ·dated on or about December 31st that was
19·   ·carving out a bunch of provisions that from a                                 19·             ·sent -- oh, actually, you know, I apologize.
20·   ·legal standpoint and a potentially future                                     20·             ·If we scroll down to the -- to the next -- to
21·   ·practical and monetary standpoint are quite                                   21·             ·the first box, there actually is no mention of
22·   ·substantial, and that has to relate to the                                    22·             ·CLO HoldCo.
23·   ·removal rights based on cause and without                                     23·             · · · · · · Are you aware that Mr. Dondero was
24·   ·cause.· As I understand it, that's all set                                    24·             ·evicted from Highland's offices as of the end
25·   ·forth in our plan objection.                                                  25·             ·of the year?

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Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                                         Page 29 of 40 PageID 10402



                                                       Page 106                                                                                                Page 107
·1·   · · · · · · · GRANT SCOTT - 1/21/2021                                              ·1·             ·   ·   ·   · · · · GRANT SCOTT - 1/21/2021
·2·   · · · A.· · I -- I didn't know the time, but I                                     ·2·             ·   ·   ·   · · · THE WITNESS:· Thank you.
·3·   ·understand he's no longer there.                                                  ·3·             ·   ·   ·   · · · MR. CLARK:· We will reserve our
·4·   · · · Q.· · Does CLO HoldCo Limited contend that                                   ·4·             ·   ·   ·   questions.
·5·   ·it was damaged in any way by Mr. Dondero's                                        ·5·             ·   ·   ·   · · · THE WITNESS:· I appreciate it, John.
·6·   ·eviction from the Highland suite of offices?                                      ·6·             ·   ·   ·   · · · MR. MORRIS:· Take care.· Thanks for
·7·   · · · · · · MR. CLARK:· Objection, form.                                           ·7·             ·   ·   ·   your time and your -- and your diligence.
·8·   · · · A.· · I -- I don't have any information to                                   ·8·             ·   ·   ·   I do appreciate it.· Take care, guys.
·9·   ·support that as of this time.                                                     ·9·             ·   ·   ·   · · · THE REPORTER:· Okay.
10·   · · · Q.· · It's not -- it's not a belief that                                     10·             ·   ·   ·   · · · MR. CLARK:· Thank you.
11·   ·you hold today?                                                                   11·             ·   ·   ·   · · · MR. HOGEWOOD:· No questions from us.
12·   · · · A.· · I don't have a belief of that, yes.                                    12·             ·   ·   ·   · · · (Time Noted:· 4:50 p.m.)
13·   · · · · · · MR. MORRIS:· All right.· Let's take                                    13
14·   · · · a short break.· I may be done.· I -- I'm                                     14
15·   · · · grateful, Mr. Scott, and don't want to                                       15·             · · · · · · · · · · · ·---------------------
16·   · · · abuse your time.· Give me -- let -- just                                     16·             · · · · · · · · · · · · ·GRANT SCOTT
17·   · · · let -- let's come back at 4:50, just eight                                   17
18·   · · · minutes, and if I have anything further, it                                  18·             ·Subscribed and sworn to before me
19·   · · · will be brief.                                                               19·             ·this· · · · day of· · · · · · · · 2021.
20·   · · · · · · (Whereupon, there was a recess in                                      20
21·   · · · the proceedings from 4:42 p.m. to                                            21·             ·---------------------------------------
22·   · · · 4:49 p.m.)                                                                   22
23·   · · · · · · MR. MORRIS:· Okay.· Mr. Scott, thank                                   23
24·   · · · you very much for your time.· I have no                                      24
25·   · · · further questions.                                                           25
                                                       Page 108                                                                                                Page 109
·1· · · · · · · · GRANT SCOTT - 1/21/2021                                                ·1·             · · · · · · · GRANT SCOTT - 1/21/2021
                                                                                         ·2·             ·--------------------I N D E X------------------
·2· · · · · · · · ·C E R T I F I C A T E                     TSG Reporting - Worldwide· · 877-702-9580




                                                                                         ·3·             · · · · · · · · · · · · · · · · · · · · · · PAGE
·3· ·STATE OF NORTH CAROLINA· )                                                          ·4·             ·EXAMINATION BY MR. MORRIS· · · · · · · · · · ·7
·4· · · · · · · · · · · · · · ) ss.:                                                     ·5
                                                                                         ·6
·5· ·COUNTY OF WAKE· · · · · ·)
                                                                                         · ·             ·--------------------EXHIBITS-------------------
·6                                                                                       ·7
·7· · · · · · · I, LISA A. WHEELER, RPR, CRR, a                                          · ·             · · · · · · · · · · · · · · · · · · · · · · PAGE
                                                                                         ·8
·8· ·Notary Public within and for the State of New                                       · ·             ·EXHIBIT 1·    Organizational Structure:· · · · ·46
·9· ·York, do hereby certify:                                                            ·9·             · · · · · ·    CLO HoldCo, Ltd.
                                                                                         10·             ·EXHIBIT 2·    Unanimous Written Consent of· · · 54
10· · · · · · · That GRANT SCOTT, the witness whose
                                                                                         · ·             · · · · · ·    Directors In Lieu of Meeting
11· ·deposition is hereinbefore set forth, having                                        11
12· ·produced satisfactory evidence of                                                   · ·             ·EXHIBIT 3·    Letter to James A. Wright,· · · · 78
                                                                                         12·             · · · · · ·    III, et al., from Gregory
13· ·identification and having been first duly sworn                                     · ·             · · · · · ·    Demo, December 24, 2020, with
14· ·by me, according to the emergency video                                             13·             · · · · · ·    Exhibit A Attachment
                                                                                         14·             ·EXHIBIT 4·    Letter to James A. Wright,· · · · 96
15· ·notarization requirements contained in G.S.
                                                                                         · ·             · · · · · ·    III, et al. From Gregory
16· ·10B-25, and that such deposition is a true                                          15·             · · · · · ·    Demo, December 24, 2020, with
17· ·record of the testimony given by such witness.                                      · ·             · · · · · ·    Exhibit A Attachment
                                                                                         16
18· · · · · · · I further certify that I am not                                          · ·             ·EXHIBIT 5· Letter to Jeffrey N.· · · · · · ·105
19· ·related to any of the parties to this action by                                     17·             · · · · · · Pomerantz from R. Charles
                                                                                         · ·             · · · · · · Miller, December 31, 2020
20· ·blood or marriage; and that I am in no way
                                                                                         18
21· ·interested in the outcome of this matter.                                           19
22· · · · · · · IN WITNESS WHEREOF, I have hereunto                                      20
                                                                                         21
23· ·set my hand this 21st day of January, 2021.                                         22
24· · · · · · · · · · · · ·-------------------------                                     23
                                                                                         24
25· · · · · · · · · · · · ·LISA A. WHEELER, RPR, CRR
                                                                                         25


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                                                                                                                                                  Appx. 01821
Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                               Page 30 of 40 PageID 10403



                                                                                                                      Index: 1..aware
                        21st 90:23,25 91:9,20   accommodated                                agreements 24:4         Asia 46:12
           1             93:19                    35:22                                      62:18 70:21 71:22
                                                                                                                    aspect 19:24 20:6
                                                                                             72:16 73:10 74:3,10
                        22nd 78:15,23 79:19     accounting 29:22                                                     77:12
1 46:13,14 53:9,16                                                                           81:12 96:11 98:5,25
                         81:3 90:17
 82:5,13                                        accurate 51:5 53:8                           99:16 100:15,20        assert 79:9 99:8
                        23rd 96:19 97:24          89:15                                      102:4,15 103:7,18,23
1/21/2021 6:1 7:1 8:1                                                                        104:3,17,18
                                                                                                                    assertion 103:16
 9:1 10:1 11:1 12:1     24 78:8 96:24           acronym 12:23
                                                                                            agrees 6:16             asset 32:23 33:7,10
 13:1 14:1 15:1 16:1    24th 81:4 83:2          act 11:13 95:2                                                       37:9
 17:1 18:1 19:1 20:1                                                                        ahead 38:2 104:8
 21:1 22:1 23:1 24:1    28th 81:5 96:13 105:6   acting 10:10                                                        assets 10:22,24
 25:1 26:1 27:1 28:1                                                                        alignment 103:12         11:14 12:11 13:13,
                                                action 83:16 85:16
 29:1 30:1 31:1 32:1                                                                                                 15,17,20,23 18:25
                                    3             98:17,18                                  allowed 37:10
 33:1 34:1 35:1 36:1                                                                                                 19:15 20:11 24:5
 37:1 38:1 39:1 40:1                            actively 101:18                             amended 40:12,16         32:12 33:11,15
 41:1 42:1 43:1 44:1    3 78:6                                                                                       35:13,14,15,17 37:8
                                                activity 50:9,14                            amendment 38:10
 45:1 46:1 47:1 48:1    31 105:14                                                                                    71:23 94:6 101:5
 49:1 50:1 51:1 52:1                            acts 72:17                                  amount 27:8
                        31st 105:8,18                                                                               assume 104:3,17
 53:1 54:1 55:1 56:1
                                                actual 6:24 103:5                           amounts 24:6
 57:1 58:1 59:1 60:1    3:20 62:6                                                                                   assumed 11:25
 61:1 62:1 63:1 64:1                            add 88:2                                    announcement
                        3:30 61:25                                                                                  assuming 104:18
 65:1 66:1 67:1 68:1                                                                         43:12
                                                additional 81:5                                                     attached 46:21
 69:1 70:1 71:1 72:1    3:31 62:7                 97:23                                     ansel 33:18
 73:1 74:1 75:1 76:1                                                                                                 52:24
 77:1 78:1 79:1 80:1                            additive 100:16                             answer's 74:6,22
                                    4                                                                               Attachment 78:9
 81:1 82:1 83:1 84:1
                                                addressed 92:11                             anymore 89:22            96:25
 85:1 86:1 87:1 88:1
 89:1 90:1 91:1 92:1    4 55:8 96:22            addressing 20:4                             apologies 89:21         attempt 76:19,25
 93:1 94:1 95:1 96:1                                                                                                 101:25
                        45 31:20 32:2           adds 97:18                                  apologize 50:11
 97:1 98:1 99:1 100:1
                                                                                             55:4 59:21 105:19      attorney 6:7 24:11
 101:1 102:1 103:1      4:42 106:21             admissibility 6:23                                                   35:21 38:14,21 39:5,
 104:1 105:1 106:1                                                                          apparently 35:15
 107:1
                        4:49 106:22             advance 37:23                                                        6 42:6 43:22,23 45:2
                                                                                            appointed 88:15          65:17 70:13 80:15
100 47:7                4:50 106:17 107:12      adversely 94:7                                                       87:6 93:20,21 97:13
                                                  103:11                                    appointment 17:6         99:9,21,22,24 100:2
11-month 70:9
                                    5           Advisers 95:2                               approval 27:5           attorney-client
1976 28:15
                                                affairs 63:2                                approvals 64:14          65:20 79:9
1984 24:20              5 54:24 105:12
                                                affect 94:7                                 approve 48:12           attorneys 87:11
1986 24:22                                                                                   75:11,12
                                    6           affiliated 49:16
                                                TSG Reporting - Worldwide· · 877-702-9580                           attraction 32:18,21
1988 25:5                                                                                   approved 41:13,16
                                                aft- 23:5                                                           authority 15:9,19
1991 25:6               6 78:4                                                              approving 64:16          33:24
                                                afternoon 6:6 7:7
                                                                                            approximately           authorize 96:6 97:11
           2                        9           agree 35:12,13,17
                                                                                             11:17 17:6 60:20       authorized 45:4
                                                  36:18 37:4,18
                                                                                            area 25:24 64:19         88:10,18 98:18
2 54:25                 99 52:9 53:4,10,13      agreed 35:20,21
                                                  43:22 45:2,15 85:23                       argument 42:12          aware 27:13 34:12
2012 16:23                                                                                                           36:2 38:12 40:5,9
                                    A           agreement 26:7                              arises 71:7,15           58:10 62:14,19 69:21
2019 23:4 76:17                                   36:19 42:11 61:15,16
                                                                                            arrangement 18:10        71:20,21 72:8,11
2020 30:15 78:8 84:9    ability 90:7              62:15 67:22 68:6,9,                                                73:24 74:8,17 76:11
                                                                                             47:13 53:12,13
 96:24 105:14                                     13,21 70:18 71:7,16,                                               77:19 79:16,18,25
                        Absolutely 8:22           17 72:20 100:25                           as- 35:14
2021 107:19                                                                                                          80:16,17 82:22 83:21
                        abuse 106:16              101:3,14,20                                                        85:5 102:10 103:25



                                 TSG Reporting - Worldwide· · 877-702-9580




                                                                                                                      Appx. 01822
Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                               Page 31 of 40 PageID 10404



                                                                                                          Index: back..compensation
 105:2,23               beneficial 58:14,16     cancellation 100:14                          14,20 56:8 58:15         77:5,13,20 79:19
                                                                                             60:3,25 65:8             80:2,12 82:2,11
                        beneficiaries 61:8,     CANTY 55:6,9
                                                                                                                      84:14,20 85:21 92:9
            B            12 101:20 103:6                                                    Charles 105:13
                                                capacity 17:9 18:20                                                   93:25 96:10 97:4
                        beneficiary 61:19         26:21 34:5,7 50:2                         chart 46:25 48:16         98:8,23 99:15 100:19
back 20:21 54:18         73:9                     51:20 72:25 73:23                          55:20                    101:5 102:3,14
 56:18,20 81:21 87:25                             74:7 75:24 83:22                                                    103:6,10,17,23 104:3
 88:15 106:17           big 33:3 39:8                                                       chemical 29:4             105:4,22 106:4
                                                  84:20
background 24:17        biggest 23:16                                                       choice 10:2              CLO's 35:14
                                                Capital 6:10 13:18,
 99:6                   bit 8:15 30:18 52:19      19,22 14:16 19:18                         chose 29:11              CLOS 13:13 68:6
bankruptcy 6:9           55:12                    28:12 62:15,21,25
                                                                                            Christmas 90:22           69:3,16 70:23 71:18,
 22:9,19,21,24 23:5,                              67:21 68:5,11,19,24
                        black 100:4                                                                                   22,24 72:9,11,21
 14 30:14,15 34:11,13                             69:14 70:19,22 71:21                      chronological 34:20       74:25 75:16,19
 35:19 76:12,15,18,23   blocks 52:13              72:12,16,21 73:25
                                                                                            City 52:15 56:13          76:20,25 77:13 83:7,
 77:6 84:23 85:12,15                              74:10 75:2,17
                        board 34:25                                                                                   23 84:5,9,14 85:17
 100:11                                         Capital's 68:19                             claim 23:11,22,24         86:4 87:10 89:3,12
                        bottom 46:24 55:22                                                   38:10,11 39:11,12,       90:8 98:11
Barbara 52:15 56:12,                            caps 13:10                                   19,23 40:4,8,12,13,
 13,23 58:10            box 105:21                                                                                   close 30:17
                                                                                             16 46:22 52:25
                                                care 107:6,8
base 98:19              boxes 47:13                                                                                  closest 28:20,21
                                                Carolina 25:8                               claims 95:16
based 29:9 61:5,15      breach 68:12 74:9,                                                                            31:23
                                                carry 18:4,13                               clarify 13:3 43:18,19
 65:20 73:16 80:22       15,18 103:17                                                                                collateralized 10:23
 104:23                                         carving 104:19                              CLARK 26:5,12 31:2,
                        breached 67:21                                                                               collectively 20:25
                                                                                             10 32:25 33:8,17
bases 98:13 99:7                                cash 36:13 37:9                                                       80:18
                        break 19:7 61:24                                                     39:14 40:24 42:24
basically 20:22 24:6     99:17 106:14                                                        44:10 54:4 59:14        college 28:22 29:7
                                                categories 99:18
                                                                                             62:3 64:4,10 65:15
basis 19:25 21:4        breaking 55:11          caused 74:11 84:19                           69:5,18,24 72:22        Colorado 67:3
 24:13 26:9 37:15                                                                            73:5 74:4,12,19
                        briefly 81:4            causing 99:14                                                        com- 20:15 25:24
 42:17 60:13 82:19                                                                           75:18 79:6,14 80:21
 86:5 91:4 98:8         brilliantly 76:10                                                                             102:19
                                                caution 44:11 65:16,                         83:13 87:18 92:17
 101:17 102:10,13                                 18 79:7                                    106:7 107:3,10          comfortable 85:2
                        brought 82:4
be- 97:6                                                                                                              98:19
                        bucket 71:20            caveats 83:18                               clerical 60:18
began 25:4                                                                                                           comments 79:3,8,10
                        bunch 104:19            Cayman 47:4                                 CLO 10:15,21 11:8
begin 6:13 7:4 8:20                                                                          12:2,7,11,15,20,23,     commonly 12:16
                        business 29:19 50:4     certainty 33:20                              25 13:23 14:2,12
 16:22 99:15                                                                                                         communicate 90:4
                        business/finance        change 27:10                                 15:10,20,24 16:4,6,9,
behalf 10:11 14:2,12                                                                         11,15,20 17:5,15,18,    communicated 39:4
                         29:22
 15:20 16:3 26:25                               changed 20:23
                                                TSG Reporting - Worldwide· · 877-702-9580
                                                                                             22 18:21,25 19:3,15,     62:24
 27:17,23 33:25 34:4                              38:21 84:19                                17,20 21:5 22:10
 37:22 40:22 67:17                 C                                                                                 communicating
                                                char- 51:16                                  23:2,9,18 24:3 26:25
 77:20 78:18 84:5,9,                                                                                                  67:5
                                                                                             27:17,23 28:6 32:10,
 14 85:17 86:4 87:10    call 18:6 35:4,19,20    characterize 94:3                            23 33:6,15,25 34:8      communication
 88:14 89:2,11 96:9      44:9 45:11 91:8          101:13                                     35:17 36:12,23 37:7,     45:6
 105:3                   93:17,18,24 95:12,14                                                22 40:22 41:11 42:20
                                                charge 20:16                                                         communications
behoove 96:9             96:15 97:16                                                         45:19,20 46:2,3,15,
                                                charitable 11:3,4                                                     44:14 64:8,23 65:12,
                                                                                             22 47:3,7,17 48:23
belief 73:13,14,15      called 6:3 10:15          12:14 17:24 18:4,14                                                 20 66:21 67:15 68:16
                                                                                             50:14 51:3 52:25
 86:5 106:10,12          35:9,20 44:6 45:12       32:13,17,20 36:16                                                   80:22,25 87:5
                                                                                             54:15 58:21 61:8
                         46:7 87:22,25 93:7,9     47:8,22 48:15 49:3,4,
believed 42:16 67:20                                                                         62:12,16 63:2 64:20     company 10:22
                        calls 93:16               7,10,13,17,21 50:3,                        67:17,22 68:13,18        33:9,21 65:23
 68:11 91:4
                                                  10,16,23 51:2,10,13,                       69:3,13,16,22 70:4,
believes 98:9           camp 75:13                17,23 52:3,6,9,10                                                  compensation
                                                                                             19,23 72:8,19 74:3,8,
                                                  53:3,5,17,25 54:10,                        9,24 75:25 76:2,19       16:19 17:2 49:20,25



                                 TSG Reporting - Worldwide· · 877-702-9580




                                                                                                                       Appx. 01823
Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                  Page 32 of 40 PageID 10405



                                                                                                        Index: complain..discussion
complain 102:11         contend 69:13 72:19      courtroom 7:23                              Dece- 78:14             derived 24:7 81:11
                         106:4
complaining 94:5                                 Covitz 14:20 15:2                           December 78:8,15,       describe 10:20
                        contentious 66:2           86:15,20                                   23 79:18 91:9,20        23:23 24:16 30:5
complex 18:19
                                                                                              93:19 94:12 96:13,      66:20 94:21
                        continue 104:4           cr- 99:5
compliance 18:11                                                                              19,24 105:6,8,14,18
                                                                                                                     describing 93:19
 20:3,13,16 25:16,17,   contract 36:17           create 17:24
                                                                                             decide 82:2,12
 20,24 50:8                                                                                                          desire 85:13
                        contracts 101:8          created 18:3 36:20
                                                                                             decided 82:23 83:3
comports 47:2                                                                                                        detail 11:7
                        conversation 66:12,      creditor 23:9,21
                                                                                             deciding 91:9
con- 85:8                25 88:4 90:15,25                                                                            details 10:6
                                                 cutter 18:9
                         93:5                                                                decision 34:3,9 36:3,
concern 37:5 68:17                                                                                                   detected 60:21
                                                                                              4,18 37:14,18,21
 71:6,14                conversations 65:4
                                                                    D                         38:19,21,23 39:8       devote 21:2,5 22:10
                         66:8 73:16 90:16
conclude 86:20 87:8                                                                           43:10,21 45:15,16
                                                                                                                     devoting 22:18
                        converting 83:16         D-A-F 13:10                                  47:25 48:10 66:15
conditional 98:14                                                                             74:24 81:18 86:7,8     difference 22:5 39:7
                        cookie 18:9              DA- 51:23                                    98:16,22 99:11
conducted 6:19                                                                                                        83:15
                        copies 97:17             DAF 12:17,20,23,25                          decision-makers
conference 35:9                                                                                                      difficult 30:18 41:17
                        copy 78:23                 13:9 19:20 47:8                            84:24                   69:11 99:3
conferring 99:9                                    48:15 49:3,4,7,10,13,
                        core 15:5,8                17,22 50:3,10,16,23                       decision-making         diligence 107:7
confide 31:17                                                                                 15:9,18 33:14,24
                        corner 46:25               51:2,10,13,17,23                                                  direct 103:6
confided 31:9                                      52:3,6,9,11 53:3,5,                        85:20,21 86:17,21
                        corporate 11:7 73:2        17,25 54:11,14 56:8                       decisions 13:25         directly 28:8
confidential 32:3
                        correct 10:13 16:14        58:15 60:3,25                              14:12 16:3 26:25       director 11:11 12:2,7
confirmation 6:14                                                                             34:14,23 48:7 75:5
                         17:10,13 23:15 25:25    Dallas 52:14,18                                                      16:16,20,25 17:4,13
 104:13                                                                                       85:2
                         53:14 58:17 71:13         55:19 56:2,22 58:9                                                 18:21 19:3,17 21:5
confused 40:25           77:2,3 84:18 88:12                                                  declared 30:16           22:25 26:21 28:5
 47:13 53:11 99:3        90:18 91:21 98:25       damaged 106:5                                                        32:9 34:5,8 35:6
                         102:15                  dated 52:20 78:15                           declined 40:23           47:17 48:24 50:22
confusing 13:3                                                                                                        51:3,4,12,16 52:3,6
 53:19                  corrected 60:21            82:25 83:2 90:17                          dedicate 21:14
                                                   96:19 105:18                                                       55:25 56:6,11,15,25
confusion 85:9          correction 60:22                                                     default 68:5,12 74:9     57:8,11 58:9 62:12
                                                 day 21:9,12,19 42:14                         103:22                  73:23 74:7 75:24
connection 62:11        correctly 23:12            96:20 97:3 107:19                                                  76:24 84:20 90:5
 69:2 74:2 101:9         29:20 36:7 42:10                                                    define 31:17
                                                 day-to-day 12:9                                                     directors 15:24
consent 27:16,22        cos- 77:23                 19:25 50:6                                degree 24:22
                                                                                                                      49:14 50:20 55:2,18
 55:2,18                                                                                     Delaware 29:5            59:12,18
                        counsel 10:9 11:23       days 21:21,25 83:12
consideration 76:6       23:6 36:8 43:12         TSG Reporting - Worldwide· · 877-702-9580
                                                   96:3,6                                    delayed 70:10 71:11     disagree 88:23 89:4
                         44:12,15 73:17 79:8
considered 91:14         80:23,25 85:23 91:13    DDDD 78:5                                   demand 81:8 83:17,      disagreed 34:10,15
consistent 33:22         95:16                   de 52:16 101:21                              19
                                                                                                                     disagreement 38:13
 91:19                                                                                       Demo 78:7 96:23
                        counterparties           de- 31:16                                                           disclose 44:13 65:19
construction 67:2        100:19
                                                 deal 20:13                                  demonstrative 46:7       80:24
consulted 39:5 42:7     couple 18:17                                                          56:21
                                                 debtor 6:9 23:9,10,                                                 discuss 42:19 67:16
contact 21:19,20,22     Cournoyer 15:4             12,22,25 86:3 88:15                       deposed 7:10 8:12
                                                                                                                     discussed 73:20
 103:14                                            89:2 96:7 98:9                            deposition 6:12,17
                        court 6:21 35:19                                                                              77:8,11 81:13
contacted 38:21          41:16 42:14,20 43:13    debtor's 41:12 77:12                         7:9,18,23 8:2 9:8
                                                                                                                     discussion 67:23
                         80:4 82:5,14,22 83:6,     90:7 92:11                                 23:7
contacts 87:24 88:2                                                                                                   80:16 85:23 89:7
                         12 96:3
                                                 debtors 97:5                                depositions 7:13         92:23 93:3
contained 69:22         courtesy 8:24                                                         8:16




                                 TSG Reporting - Worldwide· · 877-702-9580




                                                                                                                       Appx. 01824
Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                               Page 33 of 40 PageID 10406



                                                                                                     Index: discussions..foundation
discussions 64:3                                entity 10:15,18 12:3,                       existence 12:3          field 25:13
 67:19 68:3,10                     E              25 13:4 17:12,25
                                                                                            exiting 77:5            filed 20:5 23:5 38:24
                                                  51:9 52:17 58:15
dispute 35:15                                                                                                        39:13,20 40:17,18
                        e-mailed 66:23            74:24 81:11 85:19                         expenses 36:14
                                                                                                                     42:8 76:12,15
disputes 94:11                                                                               64:15
                        earlier 25:17 26:24     entity's 50:4
                                                                                                                    filing 22:22,24 23:13
distinction 70:24        62:9 75:4 77:16                                                    experience 8:16
                                                Equity 70:9                                                          39:22 76:18,24 77:6
distinguish 70:17        78:25 79:16 82:3,12                                                expert 25:13,24          83:16
                         83:12 85:4 87:20       equivalent 11:4
distracted 33:4 72:4     92:19                                                              expertise 76:8 84:25    final 15:8,18 33:13,24
                                                error 60:18,19
                                                                                             86:3 88:5 89:10
division 53:10          earnestly 89:20                                                                             finance 18:2 25:10
                                                escrow 37:14
                                                                                            experts 100:12           29:18
document 9:12,14        easier 12:23 42:5       essentially 83:17
 46:9 54:22 55:14,22                                                                        explain 17:21 75:10     Finances 19:23
 73:12 89:9 105:5       Eastern 61:25           establish 23:11
                                                                                            explained 45:14         financial 20:10 85:20
                        easy 89:19                47:25 48:7,10 65:6
documents 9:9,10
                                                                                            explored 98:20          finish 8:19
 52:24 66:24            educational 24:17       established 51:18
                                                  58:20                                     extend 8:23             firm 6:8
Don- 11:21              effect 37:9
                                                estimate 21:3,24                            extent 26:13 79:7       flow 36:13 37:7,11
donated 24:4            effects 100:10                                                       80:22
                                                estimated 21:12                                                     flows 54:6,13,18
Dondero 7:21 9:17       effectuated 27:23
 10:7 11:24 14:20,25                            et al 78:7 96:23                                                    focus 23:20 36:24
                        effectuating 27:16                                                               F
 17:24 28:7,9,10,14,                                                                                                 68:8 93:22
                                                evaluate 98:17
 16 29:24 30:6,25       electrical 24:18
                                                                                            fact 6:19 76:16 88:14   folks 62:10
 31:5,9,20 32:2,22                              event 66:6
 33:5 34:10 35:24       Electronics 8:6                                                                             footnote 46:23
                                                events 30:14 36:7                           factors 99:13
 37:2,23 39:12,19       employee 14:16
 41:7 42:20 43:10                                                                           facts 46:10 47:2        forget 26:15 35:7
                         16:17 90:5             evicted 105:24
                                                                                             102:7,19 103:24         52:18
 45:9 48:7 51:19,22
 52:2,5 57:4,8 58:12    employees 11:21,22      eviction 106:6
                                                                                            factual 98:8            forgive 69:9
 60:23 61:13 62:20       14:17 16:7 17:11       evidence 6:17
 63:19 67:7 84:12,17,    26:23 27:15,22 40:3                                                fair 8:21 16:2 22:8     forgot 19:8
 24 85:5 86:9,12 89:4    49:11 50:17,18 57:15   evidenced 42:12                              30:13,24 31:8,18,25    form 26:6,9,10,13
 90:12,13,16 91:3,8,     59:12,19 100:14        ex-wife 10:9,11                              37:19 39:11 47:22,24    31:2,10 32:25 33:8,
 20 92:8,23 93:18,23                                                                         73:3,5 85:12,17         17 37:8 39:14 40:24
                        end 55:12 91:24         exam- 86:15
 94:16 105:23                                                                                88:11                   42:24 54:4 59:14
                         105:24
Dondero's 7:19                                  EXAMINATION 7:5                             fairly 18:19 36:12       64:4,10 69:5,18,24
                        ended 35:20                                                                                  72:22 73:7 74:4,12,
 10:11 30:21 47:21                              examined 6:4                                fall 25:5
 57:21 58:2 60:11,14    engage 87:10 89:10                                                                           19 75:18 83:13 86:2
 67:3 106:5              95:25                  exclusive 23:20
                                                TSG Reporting - Worldwide· · 877-702-9580
                                                                                            familiar 10:14 45:20,    87:18 92:17 106:7
                                                  24:13                                      24 47:12 100:20,22     formal 25:9,15
downward 54:13          engaged 88:14
                                                exclusively 24:10                           familiarity 45:25       formed 17:15,19,22
draft 78:25 92:24       engaging 82:6 83:7        50:14                                      47:11                   47:4 98:22
                         93:25 95:9
dry 19:5                                        excuse 21:11 22:15                          family 7:20 9:17
                        engineer 24:18 25:2                                                                         formulated 82:18
due 35:17 70:11                                   23:7,9 28:25 104:12
                         29:5                                                               feed 52:12 56:7         forward 7:2 42:18
Dugaboy 59:25 60:5,                             execute 32:16 86:4                                                   98:15 102:21 104:14
                        engineering 29:17                                                   feedback 82:8
 15,19 61:7,19                                  exhibit 46:7,13,14
                        entities 11:2 12:12                                                 feeds 52:13             found 9:24 36:5,7
duly 6:3                                          54:24,25 55:7 78:4,5,                                              45:9
                         17:25 18:3,7,10 46:2     6,8,11 96:22,24
                         54:16 55:20 56:8
                                                                                            feel 98:18
duties 12:6 19:2,16                               105:10,12                                                         foundation 11:4
 62:11 69:15             78:18 79:19 80:2                                                   fees 36:15               52:14 55:19 56:2,5,
                         82:4,13 89:8 90:6      exist 75:16                                                          22,23 65:8 82:20
                         96:8 105:4                                                         felt 84:25



                                 TSG Reporting - Worldwide· · 877-702-9580




                                                                                                                      Appx. 01825
Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                 Page 34 of 40 PageID 10407



                                                                                                Index: foundation-like..inclusion
foundation-like          good 6:6 7:7 26:20       guideline 27:8,14                            74:10 75:2,17 76:3,9,   horizontal 52:13
 17:25                    30:8,9 43:25 58:23,                                                  14,21 77:2,6 80:5
                                                  guys 100:3 107:8                                                     house 30:4
                          25 59:5,9,11,17,22                                                   81:10,11 82:6,14
foundations 12:15
                          61:6,12                                                              83:6,22,24 84:4,8,13    housemates 30:2,3
 53:22,23 54:10,17
                                                                     H                         85:6,14,16,18 89:4
 56:7,10 57:5,9,12,15,   good-faith 42:17                                                                              Hun- 86:16
                                                                                               93:24 94:7 98:4
 20,25 58:10,12
                         GP 49:3,8,10,13,17,      half 43:6 60:21                              101:4,17 102:9,14,16    hundred 53:6 89:15
fourth 52:15,17           22 50:3 51:24                                                        103:17,22 104:2,9,
 53:24                                            halt 81:8                                    10,12 105:3 106:6       Hunter 14:20 86:15,
                         graduate 24:20                                                                                 20
frankly 76:9                                      hand 70:20                                  Highland's 35:14
                         graduated 24:13,19                                                    98:24 102:2 105:24
free 80:23                25:5                    handled 8:10 20:7                                                                I
                                                  happen 92:8 101:8                           highly 44:7
frequently 12:21,24      Grant 6:1,12 7:1 8:1
 13:3,5                   9:1 10:1 11:1 12:1        103:2                                     hindsight 26:19          IBM 24:23
                          13:1 14:1 15:1 16:1     happened 100:11                                                      idea 47:20
Friday 21:15                                                                                  historically 86:7
                          17:1 18:1 19:1 20:1
friend 28:13,21 31:23     21:1 22:1 23:1 24:1     Har- 38:17                                  HOGEWOOD                 identification 46:16
                          25:1 26:1,13 27:1                                                    107:11                   55:3 78:9 96:25
friends 28:20                                     Harbourvest 38:18
                          28:1 29:1 30:1 31:1                                                                           105:15
                                                    40:20 41:3,8,12,15,                       hold 25:12,23 48:14
friendship 30:17          32:1 33:1 34:1 35:1       25 43:11                                                           identified 23:13
                                                                                               65:15 79:6 106:11
                          36:1 37:1 38:1 39:1                                                                           26:24 35:10 53:23
frivolous 96:4            40:1 41:1 42:1 43:1     hard 21:13                                  Holdco 10:15,21           60:18 81:5 82:5
full 70:7 84:21 101:18    44:1,10 45:1 46:1       harm 94:14                                   11:9 12:2,7,16,20,23
                          47:1 48:1 49:1 50:1                                                  13:23 14:2,12 15:10,    identify 14:11 30:11
function 18:14            51:1,2,4 52:1 53:1      HCLO 73:22,23                                20,24 16:4,6,9,11,15,    34:16,21 52:14 63:16
fund 47:8 48:15 49:4      54:1 55:1 56:1 57:1                                                  20 17:5,15,18,22         88:21,25 90:10
                                                  HCM 76:11
 50:10,17,23 51:2         58:1 59:1 60:1 61:1                                                  18:21 19:3,17,20        III 78:7 96:23
 52:6,11 53:5,18          62:1 63:1 64:1 65:1,    head 28:11                                   21:5 22:10 23:2
 54:10,11                 15 66:1 67:1 68:1                                                    26:25 27:17,24 28:6     Illinois 24:21
                                                  heads 28:12
                          69:1 70:1 71:1 72:1                                                  32:10,23 33:6,16,25
future 98:2,3 103:3                                                                                                    im- 91:5 94:17
                          73:1 74:1 75:1 76:1     hear 13:9 48:5 55:7                          34:8 36:12,23 37:7,
 104:20                   77:1 78:1 79:1,6                                                     22 40:22 41:11 42:21    imaginable 91:16
                                                  heard 20:22 51:9
                          80:1,21 81:1 82:1                                                    45:19,21 46:2,3,15,
                                                                                                                       immediately 24:23
            G             83:1 84:1 85:1 86:1     hearing 6:18 42:15,                          22 47:3,7,17 48:23
                                                                                                                        35:20,21
                          87:1 88:1 89:1 90:1       23 43:4 83:5                               50:14 51:3,10,13,17
                          91:1 92:1 93:1 94:1                                                  52:9,25 53:3,25         impacted 103:10,11
gamut 20:5                                        held 33:15
                          95:1 96:1 97:1 98:1                                                  54:11,14,15 56:8
                                                                                                                       implement 47:21
gave 43:21 86:19          99:1 100:1 101:1        helped 65:6                                  58:15,21 60:3,25
 87:4 97:13               102:1 103:1 104:1                                                    61:9 62:12,16 63:2      important 8:18
                          105:1 106:1 107:1,16    helps 54:22                                  64:20 68:13,18 69:4,     34:22,23
                                                  TSG Reporting - Worldwide· · 877-702-9580
general 18:9 45:25
                                                  Hey 44:10                                    13,17,22 70:4,19,23
 49:3 66:7 83:2          grateful 89:18                                                                                impression 86:25
                                                                                               72:8,19 73:22,24
                          106:15                  hierarchy 11:18,20                                                    87:4
generally 7:17 8:17                                                                            74:8,24 75:25 76:19
                         Gregory 78:7 96:23         23:16 65:7
 24:17 25:22 30:8,11                                                                           77:13,21 79:19 80:2,    impro- 94:17
 45:19,23 63:14 66:7,                             high 23:17,18 28:15                          13 82:2,11 84:21
                         group 11:18,19                                                                                improper 91:6 94:18
 20 71:12                                                                                      97:4 98:8,23 105:4,
                          14:15 15:6,8,21 18:7    Highland 6:10 11:22                          22 106:4                improvements 67:2
gentle 83:17 91:15        19:21 86:14               13:18,19,22 14:3,15,
                                                    16 19:18 20:7 26:23                       Holdco's 85:21           in- 37:15 70:3
get all 102:8            grow 28:16
                                                    27:14,22 28:12 34:25                       103:10
                         guess 11:24 12:22                                                                             inappropriate 95:15
get- 20:4                                           40:2 52:14 55:19,25                       holding 10:22 53:4
                          18:2 20:20 25:2 40:4,     56:22 62:11,15,21,25                                               including 10:23
give 77:4 106:16
                          5 42:13 45:7 65:23        63:17 67:6,21 68:4,                       home 67:2,3               36:14 86:15
giving 36:16 47:22        78:11 99:17,21            11,19,24 69:14 70:9,
                                                                                              honestly 89:20           inclusion 97:25
                                                    12,18,22 71:11,21
goal 18:4                guide 97:14
                                                    72:12,16,20 73:25



                                 TSG Reporting - Worldwide· · 877-702-9580




                                                                                                                         Appx. 01826
Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                  Page 35 of 40 PageID 10408



                                                                                                            Index: inconsistent..mail
inconsistent 92:15       interfaced 62:10        January 88:15                               law 6:8 7:20 24:14,15     72:9,19 73:24 74:8,
                          70:11                                                               25:4,5,7 42:17 94:25     24 75:25 77:13,21
incorrect 37:15                                  Jeffrey 105:12
                                                                                              100:5                    79:20 80:2,6,13 82:2,
                         interfacing 18:24
independent 34:25                                Jersey 28:18                                                          12 97:4 98:8,23
                          19:14                                                              lawyer 10:10 24:8,12
 35:6                                                                                                                  106:4
                                                 Jim 7:19,21 11:21,24                         65:23
                         intermittent 21:13
indirect 61:8                                      14:20 17:23 28:7,8,                                                Limited's 52:25
                                                                                             lawyers 18:3 91:16
                         internal 27:8             10 35:4 45:8 61:13                                                  69:23 76:20
indirectly 28:8                                                                               95:21
                                                   63:5,19 67:3,9,23
                         internally 27:12                                                                             lines 55:23
individual 72:25                                   84:12,16,23 87:14,                        lays 101:16
                         interrupt 89:17           15,19 88:22 89:10                                                  liquid 37:9
individuals 65:6                                                                             learn 42:22 76:14
                                                   90:12 91:3 94:16
                         interrupted 26:16                                                    83:21,24                Lisa 13:8
information 32:3                                   95:12,14
 40:3 46:21 48:19        invest 74:25                                                        learned 43:3             list 27:21
                                                 John 6:7 7:8 26:6
 86:19 87:8 91:13
                         invested 69:4,17          35:7 55:6 82:7 107:5                      learning 37:18           listed 79:20 80:3
 103:16,21 106:8
                          77:14                                                                                        82:13 89:8 105:5
                                                 join 80:13,18,20                            led 81:15 86:19 87:8
informed 86:23 88:4
                         investing 25:10           82:12,15 91:9                                                      listened 93:3
                                                                                             left 51:8 85:5,9 87:24
informing 42:20                                  joined 24:23 97:4
                         investment 13:25                                                     89:4                    litigation 8:9 36:9
initially 23:3,19 29:2    14:11 16:3 25:13
                                                 Jones 6:8
                                                                                                                       94:10
                                                                                             legal 18:10 82:19
 32:19 54:12 83:2         26:4,24 59:25 60:6,
                                                                                              100:4 102:12 104:20     lived 29:25
                          15 61:7,19 75:5 76:2   junior 29:7
innocuous 81:7
                                                                                             legalistic 94:17,23      LLC 49:3,8,10,13,17,
                         investments 15:10,      justify 82:19
input 11:24 93:4                                                                                                       22 50:3 51:24
                          19 27:5 33:24 72:9                                                 lesser 34:22
inquire 95:24                                                                                                         loan 10:23
                         invests 70:23                              K                        letter 77:20,25 78:6,
inquiries 40:6                                                                                14,19,22 79:21,23       long 28:14 69:8
                         involved 14:22
                                                 Kansas 52:15 56:13                           81:2,3,5 82:24 83:10     100:12
inquiry 88:7,9            86:16,21
                                                                                              85:24 87:12 88:11,19
                                                 kind 9:11 22:4                                                       longer 14:21 85:22
Institute 24:24          IRS 18:11                                                            90:17 91:2,10,15,19,
                                                                                                                       86:8,16,20 87:2,9
                                                 knowing 98:21                                25 92:25 93:21 95:23
institution 18:6         Islands 47:4                                                         96:7,9,13,15,22 97:4,
                                                                                                                       106:3

instruct 95:21           issue 7:20 36:5,9,12    knowledge 25:19                              8,12,17,18,24 100:4     looked 94:3 100:16
                          37:4,13,17 38:17         27:2 37:23 47:6,21                         105:3,6,12,17
insulating 18:12                                   48:3,6,13 49:2 52:8                                                loop 82:8
                          40:14 41:7,24 42:15,
                                                   57:3,7 61:3,15 64:21                      letters 79:16 98:15
integrated 11:2           19 70:9 74:13 81:9                                                                          loosely 11:3
                          82:17 94:4 97:18,20,     83:11 84:10 98:19                         Lieu 55:2
intent 98:2,3,16,17                                103:15,20                                                          lot 13:9
                          23 100:5 102:12,17,
                                                                                             light 77:6
inter- 14:14              20                                                                                          lower 46:25
                                                                    L                        likelihood 94:10
interact 49:23           issuer 102:2 104:15     TSG Reporting - Worldwide· · 877-702-9580


                                                                                             limited 10:15,21 11:9                 M
interactions 73:19       issuers 100:20,23       L.P. 6:11 47:8 48:15                         12:2,8,13,24 13:23
                          101:4 102:25 103:16,     49:4 50:11,17,23
interchangeably                                                                               14:2,12 15:10,20        made 15:19 27:5
                          22,25                    51:2 52:3,6,11 53:5,
 12:18,19 13:6                                                                                16:4,6,11 17:5,16,18     34:9,14,23 36:4
                         issues 20:4,14            18 76:11                                   18:21 19:3,17 21:6       37:22 38:20 43:12
interest 47:14,15         25:16,17 36:13 38:8                                                 23:2 26:25 27:17,24
                                                 La 46:12                                                              44:23 45:2 47:25
 54:17 60:2,25            70:3 81:14,15 92:10                                                 32:10,23 33:7,16,25      48:9 66:15 70:15
interested 10:6           99:5 100:10 101:22     lack 95:11                                   34:8 37:23 40:22         72:9 73:6 74:23
                          102:11                                                              41:11 42:21 47:3,7,      76:19,24 77:22 80:3,
interests 52:10 53:5,                            laid 82:20
                                                                                              17 51:3,10,13,17         10 81:19 83:11 88:9,
 17 54:20                                        language 98:14                               52:9,10 53:3,4,17,25
                                     J                                                                                 22 89:2 91:4,5,18
interface 12:10                                                                               54:11,14 56:8 58:15      92:16 96:2 99:11,12
                                                 large 19:21 20:23
 13:12 14:14,22 19:21                                                                         60:3,25 61:9 62:12,
                         James 78:6 96:22        late 23:4 76:16,17                           16 63:2 64:20 68:14,    mail 87:25
 20:12 40:2 64:13
                                                                                              18 69:4,13 70:19



                                  TSG Reporting - Worldwide· · 877-702-9580




                                                                                                                        Appx. 01827
Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                              Page 36 of 40 PageID 10409



                                                                                                          Index: maintain..outlined
maintain 18:12          married 30:19,20       Mondays 21:14                               network 18:3            objections 6:25
 20:13 85:24 91:16                                                                                                  38:24 39:3 69:20
                        master's 24:22         monetary 104:21                             night 21:21
                                                                                                                    101:24
maintaining 94:4
                        material 100:9         money 12:15 14:8                            no-cause 101:22
                                                                                                                   obligation-type
make 16:3 26:24 34:3     101:21                  19:23 32:19 36:18,19
                                                                                           Nobody's 7:3             10:23
 48:7 70:13 75:5,14                              37:6,10 54:6,13,18
                        matter 7:17 9:18,21
 82:14 87:16 97:16                               58:20                                     nomenclature 42:10      obligations 24:2
                         64:2,8 66:8
 101:25                                                                                                             36:14 37:11
                                               month 21:25                                 Nonexempt 58:23
                        matters 25:3
makes 13:25 14:11                                                                           59:2,5,9,11,18,23      obtain 27:15 54:17
                                               monthly 21:4
 54:15                  meaningfully 21:23                                                  61:7
                                                                                                                   obtained 23:6 91:13
                                               months 23:20 30:15
making 67:17 70:25      means 11:12                                                        nonfinance 99:6
                                                 63:18 64:25 65:12                                                 occasion 27:2,3
 75:13 76:2 79:21
                        meet 18:13               66:22 67:7                                nonliquid 37:8
 80:6 83:22 84:5,8,13                                                                                              occasions 7:11
 85:2,10 86:7,8 88:7    Meeting 55:2           morning 21:21                               nonresponsive
                                                                                                                   occurred 23:8 25:22
                                                                                            81:23
man 30:22               Mel- 63:21             Morris 6:6,7 7:6,8                                                   38:9,18 95:7
Man- 68:19
                                                 13:8,11 26:11,17                          North 25:8
                        Melissa 63:21 66:17                                                                        occurs 21:17
                                                 31:3,11 39:15 42:25
manage 19:19 20:11                                                                         northern 28:18
                        member 49:7,21           44:20 46:12,17 54:23                                              October 7:14,18
                         50:3 51:23              55:4,8,10,11,13,21,                       Notary 6:4               62:22 63:3 85:7
managed 72:12
                                                 24 56:20 59:15 61:23
 74:25 75:17 76:3,21    men's 44:8               62:4,8 64:5,11 65:22                      note 72:23              office 20:21
 77:2,5
                        mental 94:3              66:5 73:3,8 78:3,10,                      Noted 107:12            officer 16:16 90:5
management 6:11                                  13 79:11 81:21,25
 13:2,18,19,22 14:16    mention 14:5 94:24       91:24 92:3 96:14,17                       notwithstanding         officers 16:12 17:12
                         105:21                  97:2 105:10,16                             6:18 76:23              49:14 50:19 57:20,25
 19:24 28:13 32:23
                                                 106:13,23 107:6                                                    58:11 59:12,18
 33:6,15 36:15 62:15,   mentioned 7:8 13:12                                                number 20:23 52:25
 21,25 67:21 68:5,12,    14:4 20:18 22:13,14                                                54:24 63:10 87:21,23   offices 105:24 106:6
                                               motion 41:12 42:8,
 25 69:14 70:19,21,22    25:17 41:3,6 53:24                                                 99:5
                                                 13 45:8 80:4,9,14                                                 Okada 14:25
 71:22 72:12,17,21       66:17 71:5,10 77:16     81:15 82:3,13,16                          nuts 19:23 70:6
 73:25 74:3,9,11         81:16 86:23 95:2                                                                          Okada's 14:21
 75:17 77:10,12 96:11                          mouth 19:4
 98:25 99:16 100:19     met 81:14                                                                                  ongoing 74:14 91:4
                                               move 42:17 45:17                                      O
 101:8 102:3,15         metric 27:12                                                                               operating 104:4
                                                 51:8 81:22 104:14
 103:6,18,23 104:3
                        middle 16:23 94:12                                                 object 26:5,12 39:23    operations 50:6
                                               multiple 21:20 83:18                         40:21 41:11 69:5
Management's
                        Mike 63:20               98:13                                      72:22 73:7             opinion 86:2 87:15
 68:20
manager 12:10           Miller 105:13                                                      objected 37:24          order 34:20 80:5
                                                                  N                         38:19 41:25 84:16       82:14
 13:13,16 14:8 18:25    mind 53:3              TSG Reporting - Worldwide· · 877-702-9580


 19:15 69:3,16 98:10                                                                        100:6                  organically 25:22
                        mine 28:13             named 33:11
managerial 47:14                                                                           objecting 26:8 40:10    organization 10:25
                        Minimal 25:21          names 86:13                                  42:8 101:17
managers 14:3                                                                                                       20:6
                        minimus 52:16          Nancy 60:22                                 objection 6:22 26:9,
manages 13:19,22                                                                                                   Organizational
                         101:21                                                             20 31:2,10 32:25
 33:9 70:22 71:23                              nature 23:24 32:8                                                    46:14
                        minutes 106:18           50:4 64:17,22 65:3,                        33:8,17 38:2 39:14
 101:5                                                                                      40:24 42:2,8,21,24     original 38:9 40:8,13
                                                 11 94:18 100:16
managing 33:11          missing 52:18                                                       43:11 54:4 59:14        81:3 82:24
 49:7,21 50:3 51:23                            necessarily 11:11                            64:4,10 69:18,23,24
                        mission 32:20                                                                              originally 58:20
                                                                                            74:4,12,19 75:18
Mark 14:20 63:21                               needed 27:5 66:24
                        mistaken 85:6                                                       83:13 87:18 92:17      out- 101:23
marked 46:15 55:3                              negotiating 104:2                            100:7 101:16 104:25
                        moment 11:8 99:25                                                                          outlined 69:19
 78:9 96:25 105:14                                                                          106:7
                                               Nelms 35:5                                                           101:23
                        Monday 90:23 94:20



                               TSG Reporting - Worldwide· · 877-702-9580




                                                                                                                     Appx. 01828
Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                                 Page 37 of 40 PageID 10410



                                                                                                           Index: overpaying..recess
overpaying 70:8         Patrick's 65:17           69:20,23 92:11 100:5                      prepared 46:6             51:3 54:23 78:3
                                                  101:9,16 104:25                                                     105:10
overrode 42:2           pausing 34:19                                                       present 60:19
                                                planner 20:10                                                        putting 75:13
overruled 37:25         paying 70:4                                                         president 57:4,21
 39:24                                          play 11:8 32:22 33:5                         58:2
                        payment 36:14
                                                                                                                                 Q
owed 24:3                70:10,14 71:11         played 35:3                                 prevented 80:5
owned 13:23 47:7        people 12:21 18:2       pleasant 35:10                              previous 73:19           qualified 87:16
 71:24                   19:21 20:3,23 32:5
                                                point 18:5 32:18                            previously 24:4          quest 70:2
                         33:10 65:24 75:13,14
owner 58:14,16                                    35:16,24 36:5,10                           33:11,19 81:12,13
                         86:7                                                                                        question 8:19 10:5
                                                  40:3 64:15 81:6                            86:14 87:2 98:6
owners 53:25 54:2                                                                                                     14:9 19:9,13 26:6,15,
                        perc- 89:15               99:21
                                                                                            prior 16:25 27:2,4,16,    19 36:25 43:7 44:22,
ownership 45:20
                        percent 47:7 52:9       points 81:6                                  22 33:22 34:11 40:16     24 48:20 79:12
 47:14
                         53:4,7,9,11,14,16                                                   43:11 79:18 80:10        81:22,24 82:9 88:17
                                                policy 27:21
owns 53:16                                                                                   88:10,17 97:17           89:13,23 92:21 99:4
                        percent/99 53:9
                                                Pomerantz 105:13                             104:15,16                103:13
                        perfectly 91:19
            P                                   pool 32:24 33:7,10                          privilege 65:21 66:4     questions 8:18
                        perform 50:5                                                         79:9                     50:12,16 55:12 69:8
                                                portfolio 10:25 69:3,
p.m. 62:6,7 106:21,22   performance 68:20         16 98:10,24                               problem 70:4 102:21       89:21 106:25 107:4,
 107:12                  69:2,15 102:3,11                                                                             11
                                                portion 10:24                               problems 36:21
Pachulski 6:8           performed 102:14                                                                             quickly 35:22
                                                portions 9:14                               proceedings 62:6
paid 32:20              period 22:15,16                                                      106:21                  quo 85:25 91:17 94:4
                                                pose 70:3
par- 54:19               23:19 80:6
                                                                                            proceeds 37:9
                                                position 23:21 48:14                                                             R
paragraph 78:17         periodically 18:18
                                                  62:20 66:11 76:20                         process 86:17,21
 79:21 80:3 82:5,13      102:9
                                                  100:8                                      97:14 99:15 104:18      raised 74:13 92:10
part 11:2 23:13 66:3    permit 104:2
                                                possibly 27:25 36:7                         program 29:22            rang 87:22
 68:18 101:14           pers- 79:20               99:14
                                                                                            proof 38:9,11 40:4,8,    re- 66:11 72:7 82:9
partial 101:11,13       person 8:8 14:11        post- 104:12                                 12,13 46:22              100:7
Partially 101:10         15:18 20:15 49:16
                                                postbankruptcy                              proofs 39:11,12,19,      reach 95:21
                         64:16 90:10
participate 54:5 82:3                             21:10 22:6,16                              23
                        personal 30:10            104:11,13                                                          read 9:14 73:12
participation 52:17                                                                         provide 79:3
 54:17,20               personally 11:8         postplan 104:13                                                      reason 9:13 34:19
                                                                                            provided 74:2 79:8        68:24 76:5
parties 6:16 13:5       persons 14:13 90:11     potentially 104:20
                                                TSG Reporting - Worldwide· · 877-702-9580
                                                                                            provisions 104:19        reasons 29:11 67:16
 83:6                   perspective 100:17      power 33:14
                                                                                            Public 6:4               recall 10:3 14:24
partner 49:4            philosophy 26:4         practical 100:10
                                                                                            publicly 32:4             28:2 35:25 44:22
partnership 52:10                                 104:21                                                              50:8 58:7 63:23 64:2,
                        phone 23:6 44:9
 53:4,17                                                                                    pull 54:21                7,22 65:9,11 67:5
                         63:10 65:24 87:22      pre 22:15
                         91:8 95:7,12,14                                                    pulled 42:15              73:19 80:16 90:24
parts 92:19                                     prebankruptcy 21:9                                                    94:24 97:3
party 72:20             phrase 13:9               22:5                                      purportedly 77:20
                                                                                                                     receive 12:15 16:19
past 7:14,18            pick 95:7               precise 69:10                               purposes 18:11,12         49:20,24
                                                                                             50:7
patent 8:5,9,11,14      piece 21:16             preclude 101:18                                                      received 9:25 24:22
 24:8,10,12 99:20                                                                           pursuant 9:22 70:21       34:24 45:6
                        pieces 71:5             precludes 21:22
 100:2                                                                                       71:23 72:16 101:4
                        place 7:13 66:13        predefined 36:17                                                     recently 38:18 73:18
Patrick 63:21 64:18,                                                                        put 9:10 21:8 34:20
 24 65:13 66:9 67:8     plan 38:24 47:21        preliminary 99:10                            37:14 46:13 50:25       recess 62:5 106:20



                                 TSG Reporting - Worldwide· · 877-702-9580




                                                                                                                       Appx. 01829
Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                              Page 38 of 40 PageID 10411



                                                                                                                 Index: recite..short
recite 82:9             removal 84:23          resigning 66:11                                                      Seery 35:4 63:5,7,13
                         104:23                                                                       S              67:9,16,19,24 68:3,
recognize 87:23                                resolutions 46:21
                                                                                                                     10,17 77:9,12 87:16,
                        remove 81:10 98:4        53:2
recollection 8:3                                                                           sales 74:14 81:8 91:4     19 88:13,22 89:10
 18:18 23:15 63:13      removed 86:24 98:9     resolve 42:15                                94:8,9                   95:8,12,14,22
 85:6 94:22 97:5
                        reorganization         resolved 92:12                              Samsung 8:6              select 70:9 71:12
 105:9
                         100:6 101:9                                                                                 75:3
                                               resonates 99:19,22                          Santa 52:15 56:12,
recommendation
                        repeat 14:8 15:16        100:3                                      13,23 58:10             selected 56:3,4
 43:23 44:5,7,23 45:2
                         33:2 41:2,18 72:5
                                               respect 7:21 9:17                           scenario 45:7            selection 75:7,12,14
reconvene 61:24          89:22 90:3
                                                 12:12,14 25:16 33:6,
                                                                                           scheduled 36:16          sell 76:19
record 6:14,25 72:23    rephrase 89:23           14 36:13 38:9,17
 73:6 100:13                                     40:8,11,20 41:24                          school 24:14,15,21       send 45:11
                        replacement 84:24
                                                 48:15 50:9 64:20                           25:4,5,7 28:15 29:17,
recurring 27:11                                                                                                     sending 88:11,18
                        report 18:21             67:3 68:18 71:17                           19                       95:23 96:7 97:11
reduced 40:12                                    79:23 101:14
                        reporter 6:21 44:3                                                 Schroth 63:22 66:18,     sentence 92:5
reduces 94:10            55:10 107:9           respective 6:16                              21 67:8
                                                                                                                    sequence 36:6
refer 11:3 20:21        reports 102:8          responsibilities                            scientist 24:25           93:15
 100:18                                          12:7,9 19:2,16
                        represent 74:15                                                    scott 6:1,12 7:1,7 8:1   series 8:18
reference 78:18                                responsibility 64:19                         9:1 10:1 11:1 12:1
                        representation
                                                                                            13:1 14:1 15:1 16:1     serve 10:7 30:21
referred 12:16 70:5      100:15                responsible 86:14
                                                                                            17:1 18:1 19:1 20:1      32:9 51:19,22 52:2,5
referring 13:17         representative         responsive 69:25                             21:1 22:1 23:1 24:1      57:4
 60:10 65:7 86:11        16:15 73:2,4 89:8                                                  25:1 26:1 27:1 28:1
                                               restate 82:9                                                         served 10:3,11 16:24
                         90:5                                                               29:1 30:1 31:1 32:1
reflected 48:8                                                                                                       17:8,13
                                               reveal 32:4                                  33:1 34:1 35:1 36:1
                        represented 95:15
reflects 46:10                                                                              37:1 38:1 39:1 40:1     serves 60:15
                                               review 83:4
                        representing 6:15                                                   41:1 42:1 43:1 44:1
refresh 18:18 105:9                                                                                                 service 19:19 57:21
                                               reviewed 100:7                               45:1 46:1,14,18 47:1
                        represents 6:9                                                                               58:2 90:7
regard 38:25                                                                                48:1 49:1 50:1 51:1,
                                               Ri- 78:11
                        request 34:24 35:2,                                                 2,4 52:1 53:1 54:1,25   servicer 62:17
registry 35:18
                         11,22 42:16 70:2,14   right-hand 46:25                             55:1 56:1 57:1 58:1      72:13,17 83:23 98:4,
regularly 20:12          77:16,21 79:22 81:8                                                59:1 60:1 61:1 62:1,9    10 104:16
                                               rights 101:19 103:9,
 64:13                   83:10,11,16,17,18                                                  63:1 64:1 65:1 66:1
                                                 10 104:23                                                          services 16:20 68:9,
                         84:21 91:5,16,18                                                   67:1 68:1 69:1 70:1
regulations 25:20                                                                                                    13,21 70:5,6,7,18
                         92:4,15 96:2 98:14    rise 82:17                                   71:1 72:1,24 73:1
                                                                                                                     71:6,7,15 74:2 81:12
relate 101:22 104:22    require 27:21
                                                                                            74:1 75:1 76:1 77:1
                                               role 11:8 12:2,12,13                                                 serving 21:5 49:21
                                                                                            78:1,6 79:1 80:1 81:1
related 34:24           require- 81:14
                                                 20:19 32:22 33:5
                                               TSG Reporting - Worldwide· · 877-702-9580

                                                                                            82:1 83:1 84:1 85:1      58:11
                                                 48:17,22 76:7
relating 7:19 32:13                                                                         86:1 87:1 88:1 89:1
                        required 27:15                                                                              set 11:18,19 19:19
                                               room 6:21 9:8 35:9                           90:1 91:1 92:1 93:1
                                                                                                                     24:5 104:24
relation 67:22 68:6     requisites 18:13         44:8                                       94:1 95:1 96:1,22
relationship 29:10                                                                          97:1 98:1 99:1 100:1    sets 100:8
                        res- 101:6             roommates 29:24,                             101:1 102:1 103:1
 30:5 32:8                                                                                                          settlement 40:21
                                                 25
                        research 24:23,25                                                   104:1 105:1,12
relative 104:11                                                                                                      41:13,16 42:9 43:11
                         25:2                  rule 27:4                                    106:1,15,23 107:1,16
relied 97:13                                                                                                        share 94:19
                        reservation 6:24       rules 25:20 27:21                           screen 9:10,12 33:3
rely 91:7,12                                                                                38:8 55:15 78:4         shared 30:4 32:3
                        reserve 107:3          runs 20:5                                                             68:9,13,20 70:18
remember 59:7                                                                              scroll 55:21 78:10
                        resign 66:15           Russell 35:5                                                          71:7,15
 105:17                                                                                     105:20
                        resigned 62:20                                                                              short 12:22 61:24
remotely 6:19                                                                              seeking 99:14
                                                                                                                     106:14




                                TSG Reporting - Worldwide· · 877-702-9580




                                                                                                                      Appx. 01830
Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                               Page 39 of 40 PageID 10412



                                                                                                            Index: show..transferred
show 82:25 92:18        spend 22:25             subset 12:14                                 74:15,18               time 9:11,24 11:25
                                                                                                                     16:25 17:5,12 18:8
showed 81:4 82:25       spent 20:2 21:9,10      subsidiary 104:10                           ten 11:17 17:6 83:24
                                                                                                                     19:25 20:2,24 21:2,4,
showing 9:9             spoke 35:24 63:19       substance 9:19                              term 20:22 100:21,22     9,10 22:10,12,14,18,
                         65:10 67:9 87:19         44:14 64:23 65:4,19                                                25 24:13 27:25 28:11
shown 52:22                                                                                 terminate 96:10
                                                  80:24 91:2                                                         30:8 34:21 35:16,24
                        spoken 7:3 63:8,12,                                                  98:24
                                                                                                                     40:16 41:19 42:22
shows 53:3,6
                         17,19                  substantial 83:15                                                    43:12 45:8 50:8 53:8
                                                                                            terminating 99:15
sic 73:22                                         104:22
                                                                                                                     57:22 61:25 63:2
                        standpoint 104:20,
                                                                                            termination 100:12,      70:8 71:5 80:7,10
side 51:5,8              21                     substantive 81:9
                                                                                             14                      88:10,18 89:3 98:20
                                                  100:4
sign 66:24              Stang 6:8                                                                                    106:2,9,16,24 107:7,
                                                                                            terminology 42:9
                                                substantively 92:12                                                  12
signature 55:23         start 29:2 46:24 63:7
                                                                                            terms 12:19 13:2,6
                                                substitute 104:14,15                                                times 13:4 63:12,15
signed 93:21            started 82:8                                                         16:16 45:22 52:16
                                                success 100:13                               69:6 94:25             timing 40:19
significant 36:13       stated 73:6
                                                sufficient 26:10                            test 45:24 47:10        title 11:10,12 24:25
simple 44:21            statement 98:2
                                                  82:19                                      63:14
simply 26:8             status 85:25 91:17                                                                          today 6:11 7:9 9:9
                                                suggest 99:7 102:13                         testified 6:5 9:20,21    26:10 30:6 68:23
                         94:4
single 88:21                                                                                 22:4 62:10 75:4 85:4    86:4 98:22 106:11
                                                suggested 96:8
                        step 8:24
sir 55:15 74:21                                                                             testify 7:22 37:3       told 45:3 89:9 91:20
                                                suit 96:3
                        steps 23:10 39:22                                                                            92:8
sister 60:9,11,14                                                                           testifying 72:24
                         81:10 82:19 96:10      suite 106:6
sit 68:23 79:25          98:24 101:17                                                       testimony 89:18         topic 40:16 45:18
                                                summarize 39:10
siv- 60:14              sticking 45:16                                                      text 45:11              touch 27:9
                                                Super 7:25
small 33:3              stop 77:17,21 82:6                                                  there'd 94:14           track 100:13
                                                support 40:4 102:19
                         83:6 85:13,16 91:5                                                                         trade 67:17
smallest 23:16                                    106:9                                     thing 92:7 99:22
                        stoppage 84:21                                                       100:3                  traded 85:14
sole 17:4 18:20 19:17                           Surgent 15:4 20:17
 34:7 47:16 50:22       stopping 94:8,9                                                     things 17:23 21:25      trades 82:6,15 83:7,
                                                suspects 63:20
 51:12,16 73:23                                                                              23:12 24:3 29:19        22 84:5,8,13 85:11
                        strain 30:12
                                                sworn 6:3 107:18                             30:16,17 64:16          86:4 87:10,16
soon-to-be 100:13       strained 30:7                                                        100:15
sophomore 29:4                                                                                                      trading 77:17,22
                        strategy 26:4                              T                        thinking 37:13           84:21 85:14,16
sort 64:15 100:5,16     strike 48:11 81:22                                                  third-party 73:9
                                                taking 101:18                                                       training 24:19 25:9,
sorts 24:7                                                                                   101:19                  15
                        structure 11:7 12:16
soup 19:23 70:6          45:18,20 46:15         talk 45:18
                                                TSG Reporting - Worldwide· · 877-702-9580
                                                                                            Thomas 15:4 20:17       transaction 88:22,
                         47:19,20 48:2,8,10,    talked 22:16 61:6                            24:23                   25
source 30:12 87:7        13 52:19                 98:5                                      thought 18:5 21:7
speak 40:15,17 43:9                                                                                                 transactions 24:7
                        subject 6:23 7:17       talking 13:4 57:5,9                          32:16 38:3,15 40:10     27:16,23 80:6 88:14
 63:21 95:8,22 102:2     64:2,7 66:8 81:2                                                    42:2 44:2 48:17 68:4
                                                  102:12                                                             89:11 92:10 93:25
speaking 8:17            98:13                                                               75:4 77:4 85:4 94:9,    95:10 96:2
 102:25                                         tangent 44:25                                12 95:9,13,25 102:24
                        submitted 42:14                                                                             transcript 6:23 7:2
speci- 86:24                                    tax 17:25 18:10                             thoughts 39:2
                        subpoena 9:22,25                                                                             83:5
specifically 11:12       10:4,7,12              taxes 20:5                                  threw 96:3              transfer 29:11 35:12
 36:25 40:9 86:22       Subscribed 107:18       team 85:20,21,22                            Throckmorton             76:25
specifics 79:13                                   86:25 87:9                                 63:20 64:3,9,14 67:8
                        subsequent 6:18                                                                             transferred 24:5
speculate 40:7           36:11 38:10 81:10      Tech 29:16                                  Tim 15:4                 29:3,6,13,14,20
                                                                                                                     35:18
                                                technical 11:10



                                 TSG Reporting - Worldwide· · 877-702-9580




                                                                                                                      Appx. 01831
Case 3:21-cv-00881-X Document 138-68 Filed 07/14/23                                               Page 40 of 40 PageID 10413



                                                                                                              Index: transfers..Ziehl
transfers 64:16         understanding
                         11:16 13:21 17:22                         W                                    Y
transition 23:8
                         18:16 23:24 29:10
transitioned 25:4        32:7,15 47:2 49:6      wanted 17:24 29:18                          year 29:4,7 85:15
                         50:6 53:15 60:14                                                    105:25
transmitted 35:2                                Watson 24:24
                         61:5,18 65:16 73:13,
trick 9:11               14,15 83:3 84:22                                                   years 7:15 8:2 11:17
                                                wedding 30:22
                         97:19,22 101:11,13                                                  15:3 17:6 18:17
triggers 27:9            103:7                  week 21:11,18,20                             28:24 29:8 31:8,20
trust 58:23 59:2,5,9,                             60:20 67:10 87:20                          32:2 59:6 60:17
                        understood 86:6,13                                                   73:20 76:10 83:25
 11,18,23,25 60:6,16                            week-to-week 19:25
 61:7,8,12,15,16,20,    undisputably 37:6                                                    84:5
 22                                             weekly 21:3                                 yes-or-no 79:11
                        University 24:19,21
trusted 32:12            25:8 28:24 29:5,15,    weeks 21:18 60:20                           yesterday 26:9
                         16                       66:14
trustee 11:13 58:25                                                                         yielded 81:3
 59:4,22 60:5,15,19     unlike 20:9,10          well-known 29:21
                                                  75:22,23                                  York 24:24 35:8
trustees 59:8           updated 88:2
                                                wire 64:16
trusts 30:25 31:6       urgent 44:7                                                                     Z
 58:18 60:2,24 61:2                             with- 45:3
                        usual 63:20
tuck 36:18                                      withdraw 43:10                              Ziehl 6:8
                        UVA 28:24,25 29:2,        45:3,4 92:21 96:4
tucked 36:19             12,21,24
                                                withdrawing 42:21
Tuesday 21:15 90:21
                                    V           withdrawn 13:20
turn 71:19                                        16:10 26:22 28:3
turnover 20:20                                    31:4 34:4,6 39:16
                        valid 42:12
                                                  45:8 52:4 57:18
type 18:5,7             vehicles 58:19 77:5       59:16 63:25 64:6
                                                  65:10 77:10 79:17
                        versus 27:11 34:22
             U                                    86:10
                         47:14 83:17 85:9
                                                word 41:2
                        view 83:15 87:15
Uh-huh 9:16              94:17,19,23 103:12,    words 8:25
ultimately 36:8          13
                                                work 42:6
 47:23 54:15 70:15      views 103:2
 75:3                                           worked 15:3 42:6
                        Virginia 24:20 28:24      85:22
unanimous 54:25          29:16                  TSG Reporting - Worldwide· · 877-702-9580
 55:17                                          working 20:2 38:14
                        virtual 9:7               95:16
unaware 70:10
                        virtue 8:10 82:24       works 23:14
under- 23:14 37:12
                        vision 32:13,17         world 16:15 31:23
understand 9:4                                    75:16,20
 11:13,22,23 14:14      voice 87:25
 15:15 17:23 18:8                               Wright 78:7 96:23
                        voluntarily 9:20
 19:10 23:11 27:18
                                                write 45:10
 29:19 31:12 33:13      volunteered 36:3
 36:6 38:20 42:5,9       88:8                   written 8:11 54:25
 43:3 54:13 70:24                                 55:18 62:14 77:20
                        volunteering 95:12
 71:18 73:21 81:6
                                                wrong 22:11 68:25
 89:3 100:24 101:7
                                                  69:15 73:25 75:6
 102:8 104:9,24 106:3
                                                wrote 8:6,9



                                 TSG Reporting - Worldwide· · 877-702-9580




                                                                                                                      Appx. 01832
